                          Case 20-11016-mkn                  Doc 1          Entered 02/24/20 23:04:42                Page 1 of 27


Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                       Chapter H

                                                                                                                          D Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy 02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-lndividuals, is available.


1. Debtor's name                  Alpha Guardian,aHeYada^w


2. All other names debtor
     used in the last 8 years
     Include any assumed           DBA Stack-On Acquisition Corp.
     names, trade names and
     doing business as names


3. Debtor's federal
     Employer Identification       XX-XXXXXXX
     Number (EIN)


4. Debtor's address                Principal place of business                                    Mailing address, if different from principal place of
                                                                                                  business

                                   820 Wigwam Parkway, Ste. 130
                                   Henderson, NV 89014
                                   Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                   dark                                                           Location of principal assets, if different from principal
                                   County                                                         place of business

                                                                                                  Number, Street, City, State & ZIP Code



5. Debtor's website (URL) www.alphaguardian.com



6. Type of debtor
                                   • Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   D Partnership (excluding LLP)
                                   D Other. Specify:




Official Form 201                           Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                             page 1
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Debtor Alpha Guardian, a Nevada corporation                                                         Case number (if known)
          Name



7. Describe debtor's business A. Check one:
                                      D Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                      D Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))

                                      D Railroad (as defined in 11 U.S.C. § 101(44))

                                      D Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                      D Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                      D Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                      • None of the above


                                      B. Check all that apply

                                      D Tax-exempt entity (as described in 26 U.S.C. §501)

                                      D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)

                                      D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))


                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                         See http://www.uscourts.gov/four-digit-national-association-naics-codes.




8. Under which chapter of the         C/iec/< one;
    Bankruptcy Code is the
                                      D Chapter?
    debtor filing?
                                      D Chapter 9
                                      • Chapter 11. Check all that apply:

                                                            D Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).

                                                            D The debtor is a small business debtor as defined in 11 U.S.C. § 101(510). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1 )(B).
                                                            D The debtor is a small business debtor as defined in 11 U.S.C. § 101(510), and it chooses to
                                                                proceed under SubchapterV of Chapter 11.

                                                            D A plan is being filed with this petition.

                                                            D Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).

                                                            D The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                attachment to Voluntary Petition for Non-lndividuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.

                                                            D The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                      D Chapter 12

9. Were prior bankruptcy                 No.
    cases filed by or against
    the debtor within the last 8      D Yes.
    years?
     If more than 2 cases, attach a
    separate list.                               District                               When                                 Case number

                                                 District                               When                                 Case number


10. Are any bankruptcy cases          D No
     pending or being filed by a
     business partner or an              Yes.
    affiliate of the debtor?
    List all cases. If more than 1,
    attach a separate list                       Debtor See Attachment                                                   Relationship

                                                 District                               When                             Case number, if known




Official Form 201                              Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                             page 2
                        Case 20-11016-mkn                   Doc 1       Entered 02/24/20 23:04:42                     Page 3 of 27
Debtor   Alpha Guardian, a Nevada corporation                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                                                                     50,001-100,000
                                                                                 5001-10,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor Alpha Guardian, a Nevada corporation                                                       Case number (If known}
          Name




          Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.

17. Declaration and signature
    of authorized The debtor requests relief in accordance with the chapter of title 11 , United States Code, specified in this petition.
    representative of debtor
                               I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on Febfuary-2^, 2020
                                                      /DD/YVYY

                                  /\®                                                                    Nicholas D. Rubin
                                 Signature of authorized representative of debtor                        Printed name

                                 Title Chief Restructuring Officer




18. Signature of attorney    x /s/ Gregory E. Garman                                                      Date February 24, 2020
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Gregory E. Garman 6654
                                 Printed name

                                 Garman Turner Gordon LLP
                                 Firm name

                                 7251 Amigo Street, Suite 210
                                 LasVegas,NV89119
                                 Number, Street, City, State & ZIP Code


                                 Contact phone 725-777-3000                      Email address


                                 6654 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                     page 4
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Debtor Alpha Guardian, a Nevada corporation                                                   Case number (If known)
           Name




Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                     Chapter 11
                                                                                                                          D Check if this an
                                                                                                                              amended filing




                                                         FORM 201. VOLUNTARY PETITION

                                                      Pending Bankruptcy Cases Attachment



Debtor     Cannon Safe, Inc.                                                        Relationship to you                  Affiliate
District   Nevada                                      When     2/24/20             Case number, if known

Debtor     Cannon Security Products, LLC                                            Relationship to you                  Affiliate
District   Nevada                                      When     2/24/20             Case number, if known

Debtor     Gunvault USA, Inc.                                                       Relationship to you                  Affiliate
District   Nevada                                      When     2/24/20             Case number, if known

Debtor     Remllne Industries, Inc.                                                 Relationship to you                  Affiliate
District   Nevada                                      When     2/24/20             Case number, if known

Debtor     Stack-On Acquisition Parent Corp.                                        Relationship to you                  Affiliate
District   Nevada                                      When     2/24/20             Case number, if known

Debtor     Stack-On Products Co.                                                    Relationship to you                  Affiliate
District   Nevada                                      When 2/24/20                 Case number, if known




Official Form 201                           Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                       page 5
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       Fill in this information to identify the case:

       Debtor name Alpha Guardian, a Nevada corporation

       United States Bankruptcy Court for the:                                                 District of     Nevada

       Case number (If known):
                                                                                                             (State)
                                                                                                                                                                                        ❑ Check if this is an amended
                                                                                                                                                                                              filing



    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders                                                                                             12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who
    is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
    holders of the 20 largest unsecured claims.


      Name of creditor and complete mailing                 Name, telephone number, and email address           Nature of the claim   Indicate if claim   Amount of unsecured claim
      address, including zip code                           of creditor contact                                 (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                                debts, bank loans,    unliquidated, or    If claim is partially secured, fill in total claim amount and deduction
                                                                                                                professional          disputed            for value of collateral or setoff to calculate unsecured claim.
                                                                                                                services, and
                                                                                                                governme
                                                                                                                nt
                                                                                                                contracts)
                                                                                                                                                          Total claim, if          Deduction for            Unsecured
                                                                                                                                                          partially secured        value of                 claim
                                                                                                                                                                                   collateral or
                                                                                                                                                                                   setoff
      AJU Steel                                           AJU Steel                                             Steel Supplier                                                                            $ 819,523.47
1     2815 Camino del Rio South, Suite 200                2815 Camino del Rio South, Suite 200
      San Diego, CA                                       San Diego, CA
                                                          1-619-400-4158 Ext 102
                                                          Ajums07@ajusteel.co.kr
      Afero, Inc                                          Fenwick & West LLP                                    Steel Supplier                                                                            $145,000.00
2     4970 El Camino Real, Suite 100                      555 California Street, 12th Floor
      Los Altos, CA 94022                                 San Francisco, CA 94104
                                                          415-875-2027
                                                          www.CONEILL@FENWICK.COM
      American Express                                    Jaffe & Asher LLP                                     Credit Card                                                                               $821,369.71
3     200 Vesey Street                                    New York Office
      New York, NY 89014                                  500 Third avenue
                                                          New York, NY 10016-1901
                                                          212-687-3000
                                                          GGALTERIO@JAFFEANDASHER.COM
      Ample Electro-Mechanic Devpp CO, Ltd                PICC Property & Casualty Co Limited                   Finished Goods                                                                            $4,161,596.45
4     Shanghai Shican                                     #50, Dalai Street, 310010, Haishu District
      Room 401, NO. 1028 XIUYAN RD                        Ningbo,Zhejiang, Province, P.R, China
      Pudong, Shanghai, P.R. Of China                     +86(574)8719-6111-80666
                                                          chenzhangli@ningb.picc.com.cn
      Ningbo Yongfa Intelligent Security Technology Co., PICC Property & Casualty Co Limited                    Finished Goods                                                                            $1,569,023.80
5     Ltd                                                #50, Dalai Street, 310010, Haishu District
      321 West Batou Beilun Bingbo China                 Ningbo,Zhejiang, Province, P.R, China
                                                         +86(574)8719-6111-80666
                                                         chenzhangli@ningb.picc.com.cn
      California Steel                                    Dolen,Tucker,Popka & Abraham                          Steel Supplier                                                                            $ 159,855.26
6     1212 S. Mountain View                               1710 Plum Land, Suite A
      San Bernadino, CA 92408                             Redlands, CA 92374
                                                          951-683-6014
                                                          mail@redlands-law.com
      JFE SHOJI STEEL AMERICA, INC                        Altus Receivables Management                          Steel Supplier                                                                            $ 80,699.51
7     9335 Airway Road #108                               2400 Veterans Memorial Blvd, Suite 300
      San Diego, CA 92154                                 Kenner, LA 70063
                                                          800-509-6060 Ext 2386
                                                          michaelmodica@trustaltus.com
      NINGBO RELIANCER IMP&EXP CO, LTD                    China Export & Credit Ins Corp. - Sinosure            Transportation                                                                            $ 227,466.31
8     (6-1)-8, BUILDING 055, NO. 1, BAILONG,              Fortune Times Building
      LANE,                                               11 Fenghuiyuan, Xicheng District
      YINZHOU, NINGBO                                     Beijing 100033, China
                                                          (010)66582288
                                                          webmaster@sinosure.com.cn

      R+L Carriers                                        R+L Carriers                                         Transportation
9     PO Box 271                                          PO Box 271
      Wilmington, Ohio 45177                              Wilmington, Ohio 45177
                                                          Cherene Bothers 937-556-2163
                                                          Cherene.brothers@rlcarriers.com




    Official Form 204                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                              page 1
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                                                                                                                            Case number (if known)
  Debtor            Alpha Guardian, a Nevada corporation.
                    Name



    Name of creditor and complete mailing              Name, telephone number, and email        Nature of the claim (for      Indicate if claim   Amount of unsecured claim
    address, including zip code                        address of creditor contact              example, trade debts,         is contingent,      If the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                bank loans, professional      unliquidated, or    If claim is partially secured, fill in total claim amount and deduction
                                                                                                services, and                 disputed            for value of collateral or setoff to calculate unsecured claim.
                                                                                                government
                                                                                                contracts)


                                                                                                                                                  Total claim, if          Deduction for            Unsecured
                                                                                                                                                  partially secured        value of                 claim
                                                                                                                                                                           collateral or
                                                                                                                                                                           setoff

   RSM US LLP                                        RSM US LLP                                IT Professional Services                                                                           $ 629,659.59
10 5155 PAYSPHERE CIRCLE                             5155 PAYSPHERE CIRCLE
   Chicago, IL 60674                                 Chicago, IL 60674
                                                     310-849-5203
                                                     Karsten.white@rsmus.com
   Pacific Toll Processing                           Paul Evan Greenwald, Esq                  Steel Supplier                                                                                     $ 238,604.22
11 24724 SOUTH WILMINGTON AVE.                       12951 Miriam Place
   Carson, CA 90745                                  Santa Ana, CA 92705-1334
                                                     714-348-5800
                                                     pegreenwald@peglaw.us
   AFC Worldwide Express, Inc dba R+L Global         AFC Worldwide Express, Inc dba R+L Global Transportation                                                                                     $ 524,822.36
12 Logistics                                         16520 S. Tamiami Tr, Suite 180
   R+L Truckload Services, LLC                       Fort Myers, FL 33908
   16520 S. Tamiami Tr, Suite 180                    877-510-9133
   Fort Myers, FL 33908
   Shinsho American Corporation                      Bullard, Brown & Beal, LLP                Steel Supplier                                                                                     $2,371,600.22
13 26200 Town Center Drive                           7915 West Sahara Avenue Suite 104
   Novi, MI 48375                                    Las Vegas, Nevada 89117
                                                     702-907-4060
                                                     jbeal@bbblaw.net
   Cardinal Paint & Powder Inc                       Cardinal Paint & Powder Inc               Paint Supplier                                                                                     $ 411,644.67
14 P.O. Box 9296                                     P.O. Box 9296
   South El Monte, CA 91733                          South El Monte, CA 91733
                                                     626-941-3170
                                                     Rosanna Richardson
   Tyasa T A 2000, S.A. DE CV                        Tyasa T A 2000, S.A. DE CV                Steel Supplier                                                                                     $ 388,194.76
15 CARR FEDERAL MEXICO-VERACRUZKM 321                CARR FEDERAL MEXICO-VERACRUZKM
   S/N                                               321 S/N
   IXTACZOQUITLAN,VER,94450 Mexico                   IXTACZOQUITLAN,VER,94450 Mexico
                                                     +52(272) 724-4700
                                                     pgaliana@ta42
   Lexam Security Products                           Lexam Security Products                                                                                                                      $ 383,792.17
16 230 HONG XIAN ROAD                                230 HONG XIAN ROAD
   201411SHANGHAI, China                             201411SHANGHAI, China
                                                     wangbin@lexamlock.com

   Gateway Fabrication Solutions Mexico (Solmaq)     Gateway Fabrication Solutions Mexico      Fabric & Material Supplier                                                                         $ 345,551.16
17 CTO.ING.TOMAS LIMON GUTIERREZ No. 140-            (Solmaq)
   Zona Industrial, Guadalajara, Jalisco,            Office +52 (33) 3675 1564
   Mexico CP: 44940                                  +52 (33) 3675 1536 Ext 201
                                                     +521 (33) 3105 4798
                                                     Carlos.giraldo@gatewayfabrication.com
    DISTRIBUIDORA INT. DE CLAVOS Y MADERAS SA DE     DISTRIBUIDORA INT. DE CLAVOS Y MADERAS SA Manufacturer                                                                                       $ 283,670.56
18 CV.                                               DE CV.
    AV NINOS HEROES HIDALGO                          AV NINOS HEROES HIDALGO
    MEXICALI,BCA,21389 Mexico                        MEXICALI,BCA,21389 Mexico
                                                     686-216-0823
                                                     clavosmt@hotmail.com
   Universal Freight Systems                         Wang, Leonard & Condon                    Transportation                                                                                     $ 518,041.65
19 1260 N. Ellis Street                              33 N. LaSalle Street, Suite 2020
   Bensenville, IL 60106                             Chicago, IL 60602
                                                     312-965-0013
                                                     bil.wlc@gmail.com
   Winsson Enterprises Co., LTD                      Winsson Enterprises Co., LTD              Manufacturer
20 No. 202-2, SEC. 3, Datong RD                      No. 202-2, SEC. 3, Datong RD
   New Taipei City, Taiwan                           New Taipei City, Taiwan
                                                     Harmony.tsai@winsson.com.tw
                                                     886-22-77081761




  Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                          page 2
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    Debtor           Alpha Guardian, a Nevada corporation
                     Name
    Case number (if known)


     Name of creditor and complete mailing              Name, telephone number, and email       Nature of the claim (for   Indicate if claim   Amount of unsecured claim
     address, including zip code                        address of creditor contact             example, trade debts,      is contingent,      If the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                bank loans, professional   unliquidated, or    If claim is partially secured, fill in total claim amount and deduction
                                                                                                services, and              disputed            for value of collateral or setoff to calculate unsecured claim.
                                                                                                government
                                                                                                contracts)


                                                                                                                                               Total claim, if          Deduction for            Unsecured
                                                                                                                                               partially secured        value of                 claim
                                                                                                                                                                        collateral or
                                                                                                                                                                        setoff

    NL Lock Technology (Netherlands)                 NL Lock Technology (Netherlands)          Manufacturer                                                                                    $229,867.00
 21 Maasstraat 3, Unit D                             Maasstraat 3, Unit D
    7071 VR ULFT                                     7071 VR ULFT
    Netherlands                                      Netherlands
                                                     Susan Papa – 949-362-8977
    JWR INNOVATIVE ENTERPRISES                       JWR INNOVATIVE ENTERPRISES                Manufacturer                                                                                    $219,469.12
 22 15 Laurel Bluff CT                               15 Laurel Bluff CT
    Columbia, SC 29239                               Columbia, SC 29239
                                                     tds@btsintel.com
                                                     US mailing Address – In China
    BARBARAS DEVELOPMENT, INC.                       BARBARAS DEVELOPMENT, INC.                Manufacturer                                                                                    $210,075.96
 23 3567 Old Conejo Road                             3567 Old Conejo Road
    Newbury Park, CA 91320                           Newbury Park, CA 93120
                                                     323-888-4277
                                                     Vanessa Aguilar
     MANUFACTURAS PUEBLO VIEJO INDUSTRIAL            MANUFACTURAS PUEBLO VIEJO INDUSTRIAL      Manufacturer                                                                                    $181,903.81
 24 MATRIZ                                           MATRIZ
     AJONJOLL 3869 COL.LA NOGAIERA                   AJONJOLL 3869 COL.LA NOGAIERA
     GUADALAJARA, JALISCO C.P. 44470                 GUADALAJARA, JALISCO C.P. 44470



    Ningbo Yada Safe Equipment                       Ningbo Yada Safe Equipment                Manufacturer                                                                                    $164,366.28
 25 No.10 HONGYUN ROAD SOUTH AREA OF                 No.10 HONGYUN ROAD SOUTH AREA OF
    YUYAOECON DEVELOP ZONE                           YUYAOECON DEVELOP ZONE
    YUYAO CITY, NINGBO CHINA                         YUYAO CITY, NINGBO CHINA
                                                     +8637462778800
                                                     John Bao
    JR LUMBER & PLYWOOD, INC.                        JR Lumber & Plywood                       Lumbar Supplier                                                                                 $160,801.60
 26 2498 ROLL DR. #275                               2498 ROLL DR. #275
    San Diego, CA 92154                              San Diego, CA 92154
                                                     Todd Anderson
                                                     619-823-9613
    Veriship LLC                                     Veriship LLC                              Professional Services                                                                           $147,122.44
 27 7472 Collection Center Drive                     7472 Collection Center Drive
    Chicago, IL 60693                                Chicago, IL 60693
                                                     parcelpay@veriship.com

    BERENICE MEZA JURADO (FD Packaging)              BERENICE MEZA JURADO (FD Packaging)                                                                                                       $144,217.13
 28 10537Valle Blanco drive                          10537Valle Blanco Drive
    Socorro, TX 79927                                Socorro, TX 79927
                                                     656-379-1285
                                                     bere@flexibolsas.com
    R+L Truckload Services, LLC                      R+L Truckload Services, LLC               Transportation                                                                                  $ 21,604.88
 29 16520 S. Tamiami Tr, Suite 180                   16520 S. Tamiami Tr, Suite 180
    Fort Myers, FL 33908                             Fort Myers, FL 33908
                                                     877-510-9133

    R+L Truckload Services, LLC                      AFC Worldwide Express, Inc dba R+L Global Transportation                                                                                  $ 23,082.06
 30 16520 S. Tamiami Tr, Suite 180                   R+L Truckload Services, LLC
    Fort Myers, FL 33908                             16520 S. Tamiami Tr, Suite 180
                                                     Fort Myers, FL 33908
                                                     877-510-9133




Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                                  page 3
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 Fill in this information to identify the case;

 Debtor name Alpha Guardian, a Nevada corporation

 United States Bankruptcy Court for the: DISTRICT OF NEVADA


 Case number (if known)
                                                                                                                               [-] Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


        a        Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-lndividuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and

        Executed on February 24, 2020
                                                                    Signatures? individuaTsigning on behalf of debtor

                                                                    Nicholas D. Rubin
                                                                    Printed name

                                                                    Chief Restructuring Officer
                                                                    Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-lndividual Debtors

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      ACTION BY UNANIMOUS WRITTEN CONSENT OF THE SPECIAL COMMITTEE
                           IN LIEU OF A MEETING
                                            February 24, 2020

        The undersigned, being all of the members comprising the special committee (“Special
Committee”) for each respective board of directors or board of managers (each, a “Board”), as applicable,
of each of the companies listed on Schedule 1 attached hereto (each, a “Company” and, together the,
“Companies”), hereby ratify, adopt, and consent to the following resolutions in lieu of holding a meeting,
effective as of February 24, 2020:

        WHEREAS, the Special Committee of the Board of each Company was previously
        established pursuant to resolutions of the Board of each Company effective as of December
        23, 2019 (the “Special Committee Appointment Resolutions”), comprised of two (2) non-
        conflicted and/or independent directors or managers, to assist the Board of each Company
        in effectively and efficiently addressing matters relating to a restructuring of the
        Companies (a “Restructuring”), which may include, among other outcomes, a sale,
        liquidation and/or filing under Title 7 or 11 of the United States Code (a “Bankrupcty”);

        WHEREAS, pursuant to resolutions passed at a meeting of each Board of the Companies
        held on February 16, 2020 (the “Bankruptcy and Restructuring Resolutions”), the Special
        Committee was granted additional powers and responsibilities, including without
        limitation, the right to exercise the powers of each respective Board in the management of,
        and decision-making related to, the Restructuring and Bankruptcy;

        WHEREAS, pursuant to the Bankruptcy and Restructuring Resolutions, the Board of each
        Company granted the authority to the Special Committee to authorize the Companies to
        file for relief under Chapter 11 of Title 11 of the Bankruptcy Code, in the United States
        Bankruptcy Court for the District of Nevada (the “Bankruptcy Court”), if and when, in the
        reasonable discretion of the Special Committee of each Company, such filing is required
        to protect the assets and operations of the Companies;

        WHEREAS, the Companies are insolvent and unable to pay their debts as they mature;
        and

        WHEREAS, the undersigned members of the Special Committee for each respective
        Board for each of the Companies, in consultation with each Company’s advisors, have
        determined that it is desirable and in the best interests of each Company, and its creditors,
        shareholders, members, and other stakeholders, that a voluntary petition be filed by each
        Company, seeking relief under the provisions of Chapter 11 of Title 11 of the United States
        Code (the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of
        Nevada (the “Bankruptcy Court”).

        NOW THEREFORE, BE IT RESOLVED, that each Company is hereby authorized to
        file for relief under the Bankruptcy Code, in the Bankruptcy Court;

        RESOLVED, FURTHER, that the undersigned members of the Special Committee
        authorize, direct, and ratify the retention of NICHOLAS D. RUBIN as Chief Restructuring


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Officer of each Company and the retention of FORCE 10 PARTNERS, LLC, to provide
financial advisory and management services to support each Company and the Chief
Restructuring Officer of each Company in each such bankruptcy as provided for in their
engagement agreement, as may be modified or amended, and subject to any requisite
Bankruptcy Court approval;

RESOLVED, FURTHER, that NICHOLAS D. RUBIN, as the Chief Restructuring
Officer of the Company (the “Authorized Person”) shall be authorized, empowered and
directed, in the name and on behalf of each Company, to execute and verify a bankruptcy
petition and amendments thereto seeking relief under the provisions of Chapter 11 of the
Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court at such time
as such Authorized Person executing the same shall determine;

RESOLVED, FURTHER, that NICHOLAS D. RUBIN (the “Responsible Person”), shall
be designated as the responsible person in each Company’s Chapter 11 bankruptcy case
pursuant to Fed. R. Bankr. P. 9001(5), and is authorized and directed to appear in all
bankruptcy proceedings on behalf of each Company, and to otherwise do and perform all
acts and deeds and to execute and deliver all necessary documents on behalf of each
Company in connection with each such bankruptcy case;

RESOLVED, FURTHER, that the undersigned members of the Special Committee
authorize, direct, and ratify the retention of the law firm of GARMAN TURNER
GORDON LLP to represent each Company in each such bankruptcy case as general
bankruptcy counsel as provided for in its engagement agreement and as subject to any
requisite Bankruptcy Court approval;

RESOLVED, FURTHER, that the Responsible Person, and such other persons as the
Responsible Person shall from time to time designate, and any employees or agents
(including counsel) designated or directed by any such person, be and each hereby is,
authorized, empowered, and directed, in the name and on behalf of each Company, to
execute and file all motions, applications, pleadings, and other papers, and to take and
perform any and all further acts and deeds which he deems necessary, proper, or desirable
in connection with the Chapter 11 proceedings;

RESOLVED, FURTHER, that the Responsible Person, and such other persons as the
Responsible Person shall from time to time designate, and any employees or agents
(including counsel) designated by or directed by any such person, be and each hereby is,
authorized, empowered, and directed, in the name and on behalf of each Company, to cause
each Company to enter into, execute, deliver, certify, file and/or record, and perform such
agreements, instruments, motions, affidavits, declarations, applications, certificates or
other documents, and to take such other action as in the judgment of such person shall be
or become necessary, proper, and desirable to effectuate a successful Chapter 11
bankruptcy case with respect to each Company;

RESOLVED, FURTHER, that the Responsible Person is authorized, empowered, and
directed, in the name and on behalf of each Company to open bank accounts on behalf of
each Company at any financial institution deemed necessary, proper or desirable by the
Responsible Person, to be a signatory on such bank accounts, including without limitation,

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the ability to sign checks on behalf of each Company and to authorize wire payments on
behalf of each Company, and to have complete authority to act on each Company’s behalf
in regard to such Company’s bank accounts.

RESOLVED, FURTHER, all acts lawfully done or actions lawfully taken by the
Authorized Person and Responsible Person of each Company in the name and on behalf of
each Company to file the Petition or in any other connection with the Chapter 11
proceedings, or any manner related thereto, or in furtherance of these resolutions be, and
hereby are, in all respects ratified, confirmed, and approved; and

RESOLVED, FURTHER, that any and all acts of the Special Committee done or made
heretofore in connection with the Restructuring and Bankruptcy are hereby ratified,
approved and confirmed.

                    GENERAL IMPLEMENTING AUTHORITY

RESOLVED, that the Responsible Person, with full authority to act on behalf of each
Company, hereby is authorized and directed, in the name and on behalf of each Company,
to take or cause to be taken, any and all such further action and to execute and deliver or
cause to be executed or delivered all such further agreements, documents, certificate, and
undertakings, and to retain other professionals, advisors and consultants on behalf of each
Company, and to incur all such fees and expenses as in such Responsible Person’s
judgment shall be necessary, appropriate, or advisable to effectuate the purpose and intent
of any and all of the foregoing resolutions; and

RESOLVED, FURTHER, that the Special Committee of each Company, and each
member thereof, hereby is authorized and empowered to do all acts as may be necessary or
appropriate in its or any member’s judgment to carry out the purpose of these resolutions.



                      [Remainder of page left blank intentionally.]




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                                  SCHEDULE 1


1.   ALPHA GUARDIAN (f/k/a STACK-ON ACQUISITION CORP), a Nevada corporation
2.   STACK-ON ACQUISITION PARENT CORP, a Nevada corporation
3.   CANNON SAFE, INC., a Nevada corporation
4.   CANNON SECURITY PRODUCTS, LLC, a Nevada limited liability company
5.   GUNVAULT USA, INC., a Nevada corporation
6.   REMLINE INDUSTRIES, INC., an Illinois corporation
7.   STACK-ON PRODUCTS CO., an Illinois corporation




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                                                       United States Bankruptcy Court
                                                                     District of Nevada
 In re Alpha Guardian, a Nevada corporation _ Case No.
                                   Debtor(s) Chapter 11


                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case


Name and last known address or place of Security Class Number of Securities Kind of Interest
business of holder

Stack-On Acquisition Parent Corp. 100% Common stock
a Nevada corporation
820 Wigwam Parkway, Ste. 1 30
Henderson,NV 89014


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

          I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.




Date February 24,2020_ Signature
                                                                                         Nicholas D. Rubin


                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                     18U.S.C.§§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                             United States Bankruptcy Court
                                                                           District of Nevada
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                                                                                  Debtor(s)          Chapter       11




                                              VERIFICATION OF CREDITOR MATRDC



I, the Chief Restructurmg Officer of the corporation named as the debtor in this case, hereby verity that the attached list of creditors is

true and correct to the best of my knowledge.




 Date: February 24, 2020
                                                                      Nicholas D. Rubin/Chigj   'ETuring Officer
                                                                      Signer/Title




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 Name, Address, Telephone No. & I.D. No.
 Gregory E. Garman 6654
 7251 Amiga Street, Suite 210
 LasVegas, NV 89119
 725-777-3000
 6654 NV


                     UNITED STATES BANKRUPTCY COURT
                                            District of Nevada


 In Re
Alpha Guardian, a Nevada corporation
                                                                                             BANKRUPTCY NO.
                                                                                             CHAPTER NO. 11
                                                                               Debtor(s)


                                                 DECLARATION RE: ELECTRONIC FILING OF PETITION
                                                  SCHEDULES, STATEMENTS AND PLAN (if applicable)
PART I - DECLARATION OF PETITIONER
          [We] Nicholas D. Rubin and                      _, the undersigned debtor(s) hereby declare under penalty of
perjury that the information I have given my attorney and the information provided in the electronically filed petition,
statements, schedules, amendments and plan (if applicable) as indicated above is true and correct. I consent to my
attorney filing my petition, this declaration, statements, schedules and plan (if applicable) as indicated above to the United
States Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be filed with the Clerk
once all schedules have been filed electronically but, in no event, no later than 15 days following the date the petition was
electronically filed. I understand that failure to file the signed original of this DECLARATION will cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.
         D If petitioner is an individual whose debts are primarily consumer debts and has chosen to file under
                   chapter 7 or 13. I am aware that I may proceed under chapter 7, 11,12,or 13 of 11 United States Code,
                         understand the relief available under each such chapter, and choose to proceed under chapter 7 or 13. I
                         request relief in accordance with the chapter specified in this petition.
            • [If petitioner is a corporation or partnership] I declare under penalty of perjury that the information
                     provided in this petition is true and correct, and that I have been authorized to file this petition on behalf of
                     the debtor. The debtor requests relief in accordance with the chapter specified in this petition.
Dated: February 24, 2020

                                      Signed:
                                                      Nicholas D. Rubin/C+ri^f ResTructurinfl Officer
                                                            (Applicant)
PART II - DECLARATION OF ATTORNEY
        I, the attorney for the petitioner named in the foregoing petition, declare that, I have informed the petitioner that
[he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter.
Dated: February 24,2020

                                      Signed:          /s/ Gregory E. Garman
                                                      Gregory E. Garman 6654
                                                         Attorney for Debtor(s)




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                                        United States Bankruptcy Court
                                                  District of Nevada


In re Alpha Guardian, a Nevada corporation                          Case No.
                                          Debtor                    Chapter          11


                          CORPORATE OWNERSHIP STATEMENT (RULE 7007.1

         Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible
disqualification or recusal, the undersigned counsel for Alpha Guardian in the above captioned action, certifies
that the following is a (are) corporations), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's equity interests, or states that there are no entities to report
under FRBP 7007.1:


Stack-On Acquisition Parent Corp., a Nevada corporation - 100% of Alpha Guardian, a Nevada corporation


Cannon/MidOcean Holding Corp., a Nevada corporation - 100% of Stack-On Acquisition Parent Corp.


MidOcean Partners IV, LP, a Delaware limited Partnership - 66.9% of Cannon/MidOcean Holdmg Corp.


Alpha Bravo Holding Company, Inc., a Nevada corporation - 14.1% of Cannon/MidOcean Holding Corp.




         None [Check if applicable]




  _2/24/2020_                                               /s/ Gregory E. Garman
Date                                                       Gregory E. Garman
                                                           Signature of Attorney or Litigant
                                                           Counsel for Alpha Guardian, a Nevada corporation
                                                           Carman Turner Gordon LLP
                                                           7251 Amiga Street, Ste. 210
                                                           LasVegas,NV 89119
                                                           725-777-3000

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                                                                                                          Creditor Matrix


                        NAME                                                   ADDRESS 1                                ADDRESS 2                           ADDRESS 3                   CITY          STATE     ZIP    COUNTRY
   310 TACTICAL INC                                         5924 PACIFIC BLVD                           # 321                                                                    HUNTINGTON PARK     CA          90255
   A&H INTERNATIONAL FREIGHT                                1201 W RUSSELL ST                                                                                                    SAN DIEGO           CA          97104
   ABBOTT'S CUSTOM PRINTING                                 411 MARK LEANY DR                                                                                                    HENDERSON           NV          89011
   ABF FREIGHT (USE ARC BEST V 1039)                        PO BOX 633                                                                                                           ABILENE             KS          67410
   ABSOLUTE GRAPHIC TECHNOLOGIES                            235 JASON CT.                                                                                                        CORONA              CA          92879
   ACCESS ONE INC.                                          MANAGING MEMBER                             PO BOX 249                                                               ITASCA              IL          60143
   ACCESS ONE INC.                                          C/O THE LEVITON LAW FIRM LTD.               ONE PIERCE PLACE, STE. 725W                                              ITASCA              IL          60143
   ACCESS ONE, INC.                                         PO BOX 74008744                                                                                                      CHICAGO             IL          60674
   ACCORDION PARTNERS LLC                                   31 WEST 52ND ST                                                                                                      NEW YORK            NY          10019
   ACE HARDWARE                                             ACE LOCKBOX                                 24533 NETWORK PLACE                                                      CHICAGO             IL          60673
   ADOPT A HIGHWAY LITTER REMOVAL                           SERVICE OF AMERICA                          PO BOX 050232                                                            LOS ANGELES         CA          90074
   AFC WORLDWIDE EXPRESS, INC                               DBA R+L GLOBAL LOGISTICS                    ATTN: R+L TRUCKLOAD SERVICES, LLC        16520 S. TAMIAMI TR., STE 180   FORT MYERS          FL          33908
   AFC WORLDWIDE EXPRESS, INC.                              C/O R+L TRUCKLOAD SERVICES, LLC             16520 S. TAMIAMI TR.                     STE. 180                        FORT MYERS          FL          33908
   AFERO INC                                                4970 EL CAMINO REAL                         STE 100                                                                  LOS ALTOS           CA          94022
   AFERO INC                                                C/O FENWICK & WEST LLP                      555 CALIFORNIA STREET                    12TH FLOOR                      SAN FRANCISCO       CA          94104
   AFERO, INC.                                              MANAGING MEMBER                             4970 EL CAMINO REAL                      STE. 100                        LOS ALTOS           CA          94022
   AFERO, INC.                                              C/O FENWICK & WEST LLP                      555 CALIFORNIA STREET                    12TH FLR.                       SAN FRANCISCO       CA          94104
   AHERN RENTALS                                            PO BOX 271390                                                                                                        LAS VEGAS           NV          89127
   AIRGAS USA, LLC - PASADENA, CA                           PO BOX 102289                                                                                                        PASADENA            CA          91189
   AJU STEEL                                                2815 CAMINO DEL RIO SOUTH                   STE 200                                                                  SAN DIEGO           CA          92108
   ALASKAN HEATING & AIR CONDITIONING                       3170 POLARIS AVE #25                                                                                                 LAS VEGAS           NV          89102
   ALEXANDER & TOWNSEND, INC                                503 N MUR-LEN ROAD                                                                                                   OLATHE              KS          66062
   ALL STATE STAPLE                                         201 SCOTT STREET                                                                                                     ELK GROVE VILLAGE   IL          60007
   ALLIANCE LASER SALES                                     265 INDUSTRIAL DRIVE                                                                                                 WAUCONDA            IL          60084
   ALLIED BENEFIT SYSTEMS                                   208 S. LASALLE ST.                          STE 1300                                                                 CHICAGO             IL          60604
   ALL-STATE INDUSTRIES, INC                                500 S. 18TH STREET                                                                                                   WEST DES MOINES     IA          50265
   ALLYSON MARIE SWETT                                      10147 SHANACLEAR AVE                                                                                                 CONCORD             NC          28027
   ALPHA BRAVO AVIATION                                     820 WIGWAM PKWY #130                                                                                                 HENDERSON           NV          89014
   ALPHA BRAVO HOLDING                                      820 WIGWAM PKWY #130                                                                                                 HENDERSON           NV          89014
   ALPHA BRAVO HOLDINGS, LLC                                BROWNSTEIN HYATT FARBER SCHREK              ATTN: SAMUEL SCHWART                     100 NORTH CITY PARKWAY          LAS VEGAS           NV     89106-4614
   ALPHA BRAVO REAL ESTATE HOLDINGS, LLC                    820 WIGWAM PKWY #130                                                                                                 HENDERSON           NV          89014
   ALTERNATIVE PARTS INC.                                   7 SAWGRASS DR.                                                                                                       BELLPORT            NY          11713
   AMADA AMERICA INC.                                       POST OFFICE BOX 31001-1436                                                                                           PASADENA            CA          91110
   AMERICAN EXPRESS                                         ACCT# 9-83006                                                                                                        LOS ANGELES         CA          90096
   AMERICAN EXPRESS                                         200 VESEY STREET                                                                                                     NEW YORK            NY          89014
   AMERICAN EXPRESS                                         MANAGING MEMBER                             200 VESEY STREET                                                         NEW YORK            NY          89014
   AMERICAN EXPRESS                                         C/O JAFFE & ASHER LLP                       ATTN: NEW YORK OFFICE                    500 THIRD AVE                   NEW YORK            NY          10016
   AMERICAN FREIGHT LOGISTICS, INC.                         1733 ROWLAND ST                                                                                                      CITY OF INDUSTRY    CA          91748
   AMERICO CHEMICAL PRODUCTS                                551 KIMBERLY DRIVE                                                                                                   CAROL STREAM        IL          60188
   AMINO TRANSPORT INC.                                     PO BOX 54220                                                                                                         HURST               TX          76054
   AMMEX FABRICS CORP.                                      645 SOUTH GIANO AVENUE                                                                                               CITY OF INDUSTRY    CA          91744
   AMPLE ELECTRO-MECANIC DEVPP CO, LTD.                     SHANGHAI SHICAN                             ROOM 401                                 NO. 1028 XIUYAN RD., PUDONG     SHANGHAI                              CHINA
   AMPLE ELECTRO-MECHANIC                                   DEVELOPMENT CO., LTD. NO 16 NENJIANG RD     DAGANG INDUSTRY PARK                     NINGBO                          ZHEJIANG                       315800 CHINA
   AMPLE ELECTRO-MECHANIC DEVPP CO, LTD                     SHANGHAI SHICAN, ROOM 401, NO. 1028         XIUYAN RD                                                                PUDONG                                CHINA
   AMPLE ELECTRO-MECHANIC DEVPP CO, LTD                     C/O PICC PROPERTY & CASUALTY CO LIMITED     #50 DALAI STREET, 310010                 HAISHU DISTRICT                 NINGBO ZHEIJANG                       CHINA
   ANDERSON PEST SOLUTIONS                                  PO BOX 600670                                                                                                        JACKSONVILLE        FL          32260
   APPLIED POWER TECHNOLOGIES, INC                          620 WILD WILLOW DR                                                                                                   EL PASO             TX          79922
   ASSOCIATED FASTENING PROD                                700 HILLTOP DR.                                                                                                      ITASCA              IL          60143
   ASSURANCE AGENCY, LTD.                                   PO BOX 5653                                                                                                          CAROL STREAM        IL          60197
   ASSURED DOCUMENT DESTRUCTION, INC.                       8050 S ARVILLE #105                                                                                                  LAS VEGAS           NV          89139
   AT&T                                                     PO BOX 5080                                                                                                          CAROL STREAM        IL          60197
   AT&T MOBILITY                                            PO BOX 6463                                                                                                          CAROL STREAM        IL          60197
   ATLAS FIRST ACCESS, LLC                                  27302 NETWORK PLACE                                                                                                  CHICAGO             IL          60673
   ATLAS TOYOTA MATERIAL HANDLING                           & ATLAS FIRST ACCESS                        27294 NETWORK PLACE                                                      CHICAGO             IL          60673
   ATTORNEY GENERAL U.S. DEPT. OF JUSTICE                   950 PENNSYLVANIA AVE NW                                                                                              WASHINGTON          DC          20530
   AUTHORIZE.NET                                            PO BOX 8999                                                                                                          SAN FRANCISCO       CA          94128
   AVALON STEEL                                             5005 WOODWAY DRIVE STE 230                                                                                           HOUSTON             TX          77056
   AVERY DENNISON                                           15178 COLLECTIONS CENTER DR.                                                                                         CHICAGO             IL          60693
   AXALTA COATING SYSTEMS,LLC                               50 APPLLIED CARD WAY STE 300                                                                                         GLEN MILLS          PA          19342
   BAJA PACKAGING INC                                       482 W SAN YSIDRO BLVD. STE 1392                                                                                      SAN YSIDRO          CA          92173
   BANK OF AMERICA                                          ATTN: MARIE GIROUARD, CTP SVP               300 SOUTH FOURTH STREET                  2ND FLOOR                       LAS VEGAS           NV          89101
   BANK OF THE WEST                                         PO BOX 515274                                                                                                        LOS ANGELES         CA          90051
   BANK OF THE WEST                                         ATTN: MIKE RIVERA, DIRECTOR                 500 CAPITOL MALL                         SUITE 1200                      SACRAMENTO          CA          95814

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                                                                                                      Creditor Matrix


                          NAME                                               ADDRESS 1                             ADDRESS 2                           ADDRESS 3          CITY        STATE     ZIP      COUNTRY
   BANKCARD CENTER                                          PO BOX 4025                                                                                            ALAMEDA           CA          94501
   BANNER WELDER, INC.                                      N117 W18200 FULTON DR.                                                                                 GERMANTOWN        WI          53022
   BARBARAS DEVELOPMENT, INC.                               ATTN: VANESSA AGUILAR                   3567 OLD CONEJO ROAD                                           NEWBURY PARK      CA          93120
   BARCODES INC.                                            PO BOX 0776                                                                                            CHICAGO           IL          60690
   BDO                                                      PO BOX 31001-086                                                                                       PASADENA          CA          91110
   BEACON RESOURCES, LLC                                    21800 OXNARD ST., STE #980                                                                             WOODLAND HILLS    CA          91367
   BEARING BELT CHAIN                                       PO BOX 540757                                                                                          DALLAS            TX          75354
   BEELINE SALES INC.                                       D.B.A. NORTHERN SALES GROUP             13245 COUNTY RD. 51 STE A                                      NORWOOD           MN          55368
   BENCHMARK REFRESHMENT SERVICES                           830 W. ROUTE 22                         STE 311                                                        LAKE ZURICH       IL          60047
   BERENICE MEZA JURADO (FD PACKAGING)                      10537 VALLE BLANCO DRIVE                                                                               SOCORRO           TX          79927
   BETTER ENTERPRISES                                       7F,NO.77,SEC 4                          NANJING E. RD.                                                 TAIPEI                        10580   TAIWAN
   BIG ROCK SPORTS                                          ATTN: SUSAN FITZGERALD                  PO BOX 1869                                                    MOREHEAD CITY     NC          28557
   BREIT MF SPUR LEASING                                    985 W WIGWAM PKWY                                                                                      HENDERSON         NV          89014
   BRIDGE MEDIA LLC                                         7260 DEAN MARTIN DR STE 500                                                                            LAS VEGAS         NV          89118
   BRIDGEPORT MARKETING INC.                                PO BOX 39                               520-A NORTH MORLEY                                             MOBERLY           MO          65270
   BURNS & MOSS                                             620 NEWPORT CENTER DRIVE #600                                                                          NEWPORT BEACH     CA          92660
   BUSHNELL, INCORPORATED                                   3270 EAGLE WAY                                                                                         CHICAGO           IL          60678
   BUTLER COMPRESSOR II                                     28170 AVE. CROCKER #101                                                                                VALENCIA          CA          91355
   C & S MANUFACTURING CORP                                 1052 SOUTH NEENAH AVENUE                PO BOX 736                                                     STURGEON BAY      WI          54235
   CAI INTERMODAL LLC A WHOLLY                              OWNED SUBSIDIARY OF CA                  808 134TH ST SW STE 209                                        EVERETT           WA          98204
   CALIFORNIA STEEL                                         MANAGING MEMBER                         1212 S. MOUNTAIN VIEW                                          SAN BERNADINO     CA          92408
   CALIFORNIA STEEL                                         C/O DOLEN TUCKET POPKA & ABRAHAM        1710 PLUM LAND                          STE A                  REDLANDS          CA          92374
   CALIFORNIA STEEL SERVICES,INC                            1212 S. MOUNTAIN VIEW                                                                                  SAN BERNARDINO    CA          92408
   CALIFORNIA WEBBING MILLS, INC                            6920 STANFORD AVE                                                                                      LOS ANGELES,      CA          90001
   CALSTRIP INDUSTRIES INC.                                 3030 DULLES DR.                                                                                        MIRA LOMA         CA          91752
   CAMERON SMITH & ASSOCIATES                               PO BOX 712                                                                                             BENTONVILLE       AR          72712
   CANTONFAIR EXHIBITION DESIGN & CONS                      333 SONGZE AVENUE                                                                                      SHANGHAI                              CHINA
   CARDINAL PAINT & POWDER INC                              ATTN: ROSANNA RICHARDSON                PO BOX 9296                                                    SOUTH EL MONTE    CA          91733
   CARDINAL PAINT & POWDER INC.                             POST OFFICE BOX 9296                                                                                   SOUTH EL MONTE    CA          91733
   CARDINAL PRINTING                                        0N045 UNDERWOOD DRIVE                                                                                  GENEVA            IL          60134
   CARNOW AND ASSOCIATES,LTD                                778 FRONTAGE RD.                        #101                                                           NORTHFIELD        IL          60093
   CARRERA-WERNER SLS CO LLC                                701 CUMBERLAND STREET                   #204                                                           LEBANON           PA          17042
   CASTROL INDUSTRIAL NORTH                                 12294 COLLECTIONS CENTER DR.                                                                           CHICAGO           IL          60693
   CCSEO                                                    117 E. MOUNTAIN AVE #222                                                                               FORT COLLINS      CO          80524
   CDW DIRECT ACCT #0716808 PO ONLY                         PO BOX 75723                                                                                           CHICAGO           IL          60675
   CENPOS                                                   7750 SW 117TH AVENUE                    SUITE 306                                                      MIAMI             FL          33183
   CHAMPION WOOD PALLETS, LLC.                              105 HANKES AVENUE                                                                                      AURORA            IL          60505
   CHEP - IL 4000108612                                     15226 COLLECTIONS CENTER DR.                                                                           CHICAGO           IL          60693
   CHEP - LA 4000386339, 4000302149                         PO BOX 749003                                                                                          LOS ANGELES       CA          90074
   CHICAGO SILK SCREEN                                      882 N. MILWAUKEE AVENUE                                                                                CHICAGO           IL          60642
   CIGNA HEALTHCARE                                         C/O WELLS FARGO BANK                    1700 LINCOLN ST. LOWER LEVEL 3                                 DENVER            CO          80274
   CINCINNATI INCORPORATED                                  PO BOX 44719                                                                                           MADISON           WI          53744
   CINTAS FIRST AID & SAFETY                                8254 RONSON RD                                                                                         SAN DIEGO         CA          92111
   CITY OF MCHENRY                                          333 S. GREEN ST.                                                                                       MCHENRY           IL          60050
   CIXI ZOE TOOLS CO., LTD.                                 NO. 507 SANBEI ROAD                     SAN TOWN                                CIXI                   ZHEJIANG                     315331   CHINA
   CLARK COUNTY ASSESSOR                                    C/O BANKRUPTCY CLERK                    500 S GRAND CENTRAL PKWY                BOX 551401             LAS VEGAS         NV          89155
   CLARK COUNTY BUSINESS LICENSE                            ATTN REVENUE & COMPLIANCE               PO BOX 551401                                                  LAS VEGAS         NV          89155
   CLARK COUNTY TREASURER                                   PO BOX 551401                           500 S GRAND CENTRAL PKWY                2ND FL                 LAS VEGAS         NV          89155
   CLARK COUNTY TREASURER                                   C/O BANKRUPTCY CLERK                    500 S GRAND CENTRAL PKWY                BOX 551401             LAS VEGAS         NV          89155
   CNC PARTS DEPT. INC.                                     4930 NAPLES PLACE                                                                                      SAN DIEGO         CA          92110
   CNC SUPERIOR LOGISTICS INC.                              7157 MERCHANT AVE STE C                                                                                EL PASO           TX          79915
   COAST INDUSTRIAL SYSTEMS, INC.                           2223 VERUS ST                                                                                          SAN DIEGO         CA          92154
   COCA-COLA COMPANY                                        PO BOX 102703                                                                                          ATLANTA           GA          30368
   COILPLUS-ILLINOIS, INC.                                  6250 N. RIVER ROAD                                                                                     DES PLAINES       IL          60018
   COMCAST - 8771 10 112 0130444                            PO BOX 70219                                                                                           PHILADELPHIA      PA          19176
   COMED                                                    PO BOX 6111                                                                                            CAROL STREAM      IL          60197
   COMED (WAUCONDA)                                         PO BOX 805379                                                                                          CHICAGO           IL     60680-5370
   COMMERCE TECHNOLOGIES                                    25736 NETWORK PL.                                                                                      CHICAGO           IL          60673
   COMMERCEHUB- ALPHA GUARDIAN                              25736 NETWORK PL.                                                                                      CHICAGO           IL          60673
   COMMERCIAL PLASTICS KENOSHA LLC                          PO BOX 92170                                                                                           ELK GROVE VILLAGE IL          60009
   COMMUNITY SEWER & SEPTIC                                 PO BOX 874                                                                                             WAUCONDA          IL          60084
   COMPRESSOR SERVICES                                      5723 WEATHERSTONE WAY                                                                                  JOHNSBURG         IL          60051
   COMPUTER AIDED TECHNOLOGY                                165 ARLINGTON HEIGHTS ROAD              #101                                                           BUFFALO GROVE     IL          60089

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                        NAME                                                 ADDRESS 1                              ADDRESS 2                           ADDRESS 3          CITY      STATE      ZIP      COUNTRY
   COMPUTO Y SEGURIDAD                                      AVE. MIGUEL HIDALGO #10180-2,10180-2                                                                    TIJUANA                              MEXICO
   COMWORX                                                  5160 S.VALLEY VIEW # 106                                                                                LAS VEGAS        NV           89118
   CONSUMER ELECTRONICS ASSOCIATION                         PO BOX 37154                                                                                            BALTIMORE        MD           21297
   CONSUMER TESTING LABS                                    LOCKBOX 952766                                                                                          ATLANTA          GA           31192
   CONVERGE                                                 C/O ELAVON INC.                          TWO CONCOURSE PARKWAY                   NORTHEAST SUITE 800    ATLANTA          GA      30328-5564
   CORPORATE PAYMENT SYSTEMS                                PO BOX 790428                                                                                           ST. LOUIS        MO           63179
   CORRUGATED AND PACKAGING, LLC                            9651 AIRWAY RD, STE F                                                                                   SAN DIEGO        CA           92154
   COX COMMUNICATIONS, INC.                                 PO BOX 53262                                                                                            PHOENIX          AZ           85072
   CREDIT MANAGEMENT ASSOCIATION (CMA)                      PO BOX 7740                                                                                             BURBANK          CA           91510
   CROWN XPRESS TRANSPORT, INC.                             PO BOX 4438                                                                                             CHULA VISTA      CA           91909
   CRST SPECIALIZED TRANSPORTATION INC.                     5001 US HIGHWAY 30 WEST                                                                                 FORT WAYNE       IN           46818
   CUSTOM GLOBAL LOGISTICS                                  PO BOX 3330                                                                                             NORTHLAKE        IL           60164
   CYCLE INC.                                               1550 W. BRYN MAWR AVE.                                                                                  ITASCA           IL           60143
   DAMCO CHINA LIMITED                                      32F SHUNHING SQUARE                      DIWANG COMMERCIAL CENTER                                       SHENZHEN                     518008 CHINA
   DATA MASONS SOFTWARE LLC                                 PO BOX 732078                                                                                           DALLAS           TX           75373
   DEPT. OF EMPLOYMENT, TRAINING &                          REHAB EMPLOYMENT SECURITY DIVISION       500 EAST THIRD STREET                                          CARSON CITY      NV           89713
   DESICCARE INC                                            985 DAMONTE RANCH PKWY.                  #320                                                           RENO             NV           89521
   DI CENTRAL                                               1199 NASA PKWY #101                                                                                     HOUSTON          TX           77058
   DIAMOND JET LLC.                                         4930 NAPLES PLACE                                                                                       SAN DIEGO        CA           92110
   DIETZ SUPPLY COMPANY                                     11450 KREUTZER ROAD                                                                                     HUNTLEY          IL           60142
   DISTRIBUIDORA INT. DE CLAVOS                             Y MADERAS SA DE CV.                      AV NINOS HEROES HIDALGO                                        MEXICALI         BC           21389 MEXICO
   DO IT BEST CORPORATION                                   PO BOX 868                                                                                              FT. WAYNE        IN           46801
   DUN & BRADSTREET                                         PO BOX 75434                                                                                            CHICAGO          IL           60675
   DURMA NORTH AMERICA, INC.                                111 PREMIER DRV.                                                                                        LAKE ORION       MI           48359
   DYNASTY MOLD                                             250 JAMIE LANE                                                                                          WAUCONDA         IL           60084
   E. THOMAS RITTER                                         480 OLD TRAIL DRIVE                                                                                     CHULA VISTA      CA           91914
   E.A. LANGENFELD ASSOCIATES                               1250 FEEHANVILLE DR.                     #100                                                           MOUNT PROSPECT   IL           60056
   EASTERN OUTDOOR SALES INC                                3067 MAINWAY                                                                                            BURLINGTON       ON      7M 1A1     CANADA
   EDGENET DBA SYNDIGO LLC                                  PO BOX 746219                                                                                           ATLANTA          GA           30374
   EFC INTERNATIONAL                                        29356 NETWORK PLACE                                                                                     CHICAGO          IL           60673
   EL PASO FREIGHT SERVICES,INC                             6006 NORTH MESA STE 306                                                                                 EL PASO          TX           79912
   ELAVON INC.                                              TWO CONCOURSE PARKWAY                    NORTHEAST SUITE 800                                            ATLANTA          GA      30328-5564
   ELLIS PAINT COMPANY                                      3150 EAST PICO BLVD.                                                                                    LOS ANGELES      CA           90023
   EMERALD TRANSPORTATION                                   PO BOX 284                                                                                              LAKE VILLA       IL           60046
   EMERGENT SAFETY SUPPLY                                   1055 KINGSLAND DRIVE                                                                                    BATAVIA          IL           60510
   EMJAY SALES AND LEASING                                  6600 WEST 51ST STREET                                                                                   FOREST VIEW      IL           60638
   EMPLOYMENT SECURITY DIVISION                             CONTRIBUTIONS SECTION                                                                                   CARSON CITY      NV           89713
   ENGINEERED COMPONENTS CO.                                PO BOX 814                                                                                              CHANNAHON        IL           60410
   EPICOR SOFTWARE CORP                                     DEPT. 841547                                                                                            LOS ANGELES      CA           90084
   ESMARK STEEL GROUP                                       75 REMITTANCE DR.                        DEPT. 3126                                                     CHICAGO          IL           60675
   ESMARK STEEL GROUP                                       C/O ATLUS RECEIVABLES MANAGEMENT         2400 VETERANS MEMORIAL BLVD             STE. 300               KENNER           LA           70063
   ESMARK STEEL GROUP                                       MANAGING MEMBER                          75 REMITTANCE DR.                       DEPT. 3126             CHICAGO          IL           60675
   EUGENE YIJUN
   EXECUTIVE DYNAMICS SEARCH, INC.                          2236 EL CAMINO DEL NORTE                                                                                OLIVENHAIN       CA          92024
   EXPENSIFY                                                548 MARKET ST                                                                                           SAN FRANCISCO    CA          94104
   EXPERTVOICE                                              DEPT. CH 19775                                                                                          PALATINE         IL          60055
   FATHOM                                                   8200 SWEET VALLEY DR                                                                                    VALLEY VIEW      OH          44125
   FEDEX                                                    PO BOX 94515                                                                                            PALATINE         IL          60094
   FEDEX                                                    POST OFFICE BOX 7221                                                                                    PASADENA         CA          91109
   FEDEX FREIGHT WEST INC.                                  POST OFFICE BOX 7221                                                                                    PASADENA         CA          91109
   FERGUSON-KELLER ASSOC.                                   230 CAPITAL DRIVE NE                     #500                                                           BUFFALO          MN          55313
   FIFTH THIRD BANK                                         6111 N. RIVER ROAD                       FLOOR 4                                                        ROSEMONT         IL          60018
   FILTERTECH INC                                           PO BOX 527                                                                                              MANLIUS          NY          13104
   FINISHING CONSULTANTS                                    720 132ND STREET SW #201                                                                                EVERETT          WA          98204
   FIRST COMMUNICATIONS, LLC                                1600 SHORE ROAD                          STE D                                                          NAPERVILLE       IL          60563
   FIRST ENVIRONMENTAL                                      920 BOONE CREEK CT.                                                                                     MCHENRY          IL          60050
   FLAHERTY SENSABAUGH BONASSO PLLC                         200 CAPITOL STREET                                                                                      CHARLESTON       WV          25301
   FOUNDATION FIREPROTECTION                                920 BOONE CREEK CT.                                                                                     MCHENRY          IL          60050
   FOX BROTHERS TRANSFER                                    10 E. PROGRESS ROAD                                                                                     LOMBARD          IL          60148
   FOX VALLEY FIRE & SAFETY                                 2730 PINNACLE DRIVE                                                                                     ELGIN            IL          60124
   FRANCHISE TAX BOARD                                      PO BOX 942857                                                                                           SACRAMENTO       CA          94257
   FREEMAN                                                  PO BOX 650036                                                                                           DALLAS           TX          75265
   FULLER ENGINEERING COMPANY                               4135 WEST 99TH STREET                                                                                   CARMEL           IN          46032

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                        NAME                                                 ADDRESS 1                            ADDRESS 2                            ADDRESS 3          CITY     STATE      ZIP    COUNTRY
   GARMAN TURNER GORDON LLP                                 ATTN: GREGORY E. GARMAN                 7251 AMIGO STREET                       STE 201                LAS VEGAS       NV          89119
   GATEWAY FABRICATION SOLUTIONS MEXICO                     CTO.ING. TOMAS LIMON GUTIERREZ          NO. 140-ZONA INDUSTRIAL                                        GUADALAJARA                 44940 MEXICO
   GATEWAY FABRICATION SOLUTIONS MEXICO                     ING. TOMAS LIMON GUTIERREZ123                                                                          GUADALAJARA     JA          44940 MEXICO
   GEELONG SALES (MCO) LTD.                                 461 PARK AVE                            STE 100                                                        LAKE VILLA      IL          60046
   GENESIS METALS (NEED W9)                                 1495 COLUMBIA AVE                                                                                      RIVERSIDE       CA          92507
   GENESYS TELECOMMUNICATIONS LABORATORIES                  PO BOX 201005                                                                                          DALLAS          TX          75320
   G-GLOBAL LOGISTICS INC.                                  9255 CUSTOMHOUSE PLAZA STE H                                                                           SAN DIEGO       CA          92154
   GIBSON, DUNN & CRUTCHER LLP                              1050 CONNECTICT AVE, N.W.                                                                              WASHINGTON      DC          20036
   GRAINGER                                                 PO BOX 419267                                                                                          KANSAS CITY     MO          64141
   GRAPHIC IMPRINTS                                         120 NORTH 18TH STREET                                                                                  BILLINGS        MT          59104
   GREEN VALLEY RANCH RESORT                                2300 PASEO VERDE PKWY                                                                                  HENDERSON       NV          89052
   GREEN VALLEY STORAGE (MARINE & RV)                       19 COMMERCE CENTER DR.                                                                                 HENDERSON       NV          89014
   H & G MARKETING (NEED W9)                                PO BOX 408                                                                                             BIG LAKE        MN          55309
   H.R. STEWART INC.                                        52 W. CRYSTAL STREET                                                                                   CARY            IL          60013
   HEIDRICK & STRUGGLES INC.                                1133 PAYSPHERE CIRCLE                                                                                  CHICAGO         IL          60674
   HENDERSON INTERCHANGE CENTER, LLC                        8375 WEST FLAMINGO RD. STE 200                                                                         LAS VEGAS       NV          89147
   HIGH IMPACT SIGN & DESIGN, LLC                           820 WIGWAM PKWY., STE 100                                                                              HENDERSON       NV          89014
   HIGH POTENTIAL INC                                       33 W. MONROE ST, STE 2110                                                                              CHICAGO         IL          60603
   HIGHRADIUS CORP.                                         PO BOX 123853                           DEPT 3853                                                      DALLAS          TX          75312
   HOLLAND, INC.                                            27052 NETWORK PLACE                                                                                    CHICAGO         IL          60673
   HORIZON BUSINESS SYSTEMS                                 5125 W. OQUENDO RD #6                                                                                  LAS VEGAS       NV          89118
   HPS SERVICE AND EQUIPMENT                                1000 RAND ROAD                          #208                                                           WAUCONDA        IL          60084
   HUDA S, CORP.                                            4916 WEST ELM STREET                                                                                   MC HENRY        IL          60050
                                                                                                    FUZHOU SOFTWARE PARK NO. 89
   HUIYUAN IINTERNATIONAL EXHIBITION CO LTD                 BUILDING A-22                           SOFTWARE AVE                            TONGPAN RD, GULOU      FUZHOU                      350003 CHINA
   HUTCHINS MFG CO INC                                      PO BOX 5668                                                                                            PASADENA         CA          91117
   HYDRAULIC CONTROLS (NEED W9)                             4477 SOUTH 500 WEST                                                                                    SALT LAKE CITY   UT          84123
   HYDRAULIC SEALS & SUPPLIES                               4230 W. RENO AVE.                                                                                      LAS VEGAS        NV          89118
   I.C.E LLC                                                387 N CORONA ST. STE 511                                                                               DENVER           CO          80218
   IAB INT'L AUTOMATED BROKER-SHIPPING                      1655 ST. ANDREWS COVE                                                                                  SAN DIEGO        CA          92154
   IHA EXHIBITOR SALES                                      6400 SHAFER CT # 650                                                                                   ROSEMONT         IL          60018
   ILL. MANUFACTURERS ASSOC.                                ACCOUNTS RECEIVABLE                     220 EAST ADAMS STREET                                          SPRINGFIELD      IL          62701
   ILLINOIS DEPARTMENT OF REVENUE                           BANKRUPTCY UNIT                         PO BOX 19035                                                   SPRINGFIELD      IL     62794-9035
   ILLINOIS LOCK COMPANY                                    PO BOX 9068                                                                                            WHEELING         IL          60090
   ILPEA INDUSTRIES                                         7351 SOLUTION CENTER                                                                                   CHICAGO          IL          60677
   INDUSTRIAL PACKAGING CORP                                1515 W. MOHAWK DR.                      PO BOX 197                                                     TOMAHAWK         WI          54487
   INFORMATION CLEARINGHOUSE                                DBA F&D REPORTS & CREDITNTELL           310 E. SHORE RD. STE 302                                       GREAT NECK       NY          11023
   INSTAFF /BG STAFFING                                     PO BOX 660282                                                                                          DALLAS           TX          75266
   INTERMODAL SALES CORP                                    PO BOX 3320                                                                                            CORDOVA          TN          38088
   INTERNAL REVENUE SERVICE                                 PO BOX 7346                                                                                            PHILADELPHIA     PA          19101
   INTERNATIONAL AUTOMATED BROKER                           PO BOX 437850                                                                                          SAN YSIDRO       CA          92143
   INTERNATIONAL FASTENING TECHNOLOGIES LLC                 2911 MOOSE TRAIL                                                                                       ELKHART          IN          46515
   INTERSOURCE TECHNOLOGY                                   PO BOX 629                                                                                             LAKE FOREST      IL          60045
   INTERTEK TESTING SERVICES                                PO BOX 405176                                                                                          ATLANTA          GA          30384
   ITU ABSORBTECH, INC.                                     BIN 88479                                                                                              MILWAUKEE        WI          53288
   J&B MATERIALS.INC                                        1165 NORTH JOHNSON AVE.                                                                                EL CAJON         CA          92020
   J. HARDING ASSOCIATES                                    18682 BEACH BLVD. STE 215                                                                              HUNTINGTON BEACH CA          92648
   JAHANNA L. NICHOLS INTERIOR DESIGN, INC.                 140 N. HARVARD #1539                                                                                   CLAREMONT        CA          91711
   JAVIER GONZALEZ                                          4618 COUNTRY SIDE LN                                                                                   HARVARD          IL          60033
   JFE SHOJI STEEL AMERICA, INC.                            9335 AIRWAY ROAD #108                                                                                  SAN DIEGO        CA          92154
   JFE SHOJI STEEL AMERICA, INC.                            PASEO CUCAPAH 10515                     EL LAGO                                                        TIJUANA          BC          22210 MEXICO
   JFE SHOJI STEEL AMERICA, INC.                            MANAGING MEMBER                         9355 AIRWAY ROAD #108                                          SAN DIEGO        CA          92154
   JFE SHOJI STEEL AMERICA, INC.                            C/O ATLUS RECEIVABLES MANAGEMENT        2400 VETERANS MEMORIAL BLVD.            STE. 300               KENNER           LA          70063
   JMT STRONG ON SERVICE                                    2895 SOUTH 300 WEST                                                                                    SALT LAKE CITY   UT          84115
   JOHN HOWARD CO                                           4510 SCHAEFER AVE                                                                                      CHINO            CA          91710
   JOHNSON SAFE COMPANY INC                                 1165 WILLIAMS RD                                                                                       COLUMBUS         OH          43207
   JONES & COMPANY                                          7806 SW ELIPSE WAY                                                                                     STUART           FL          34997
   JR LUMBER & PLAYWOOD, INC.                               2498 ROLL DR. #275                                                                                     SAN DIEGO        CA          92154
   JR LUMBER & PLAYWOOD, INC.                               ATTN: TODD ANDERSON                     2498 ROLL DR.                           #275                   SAN DIEGO        CA          92154
   JT & T PACKAGING                                         448 COLE RANCH RD.                                                                                     ENCINITAS        CA          92024
   JWR INNOVAITE ENTERPRISES                                15 LAUREL BLUFF CT                                                                                     COLUMBIA         SC          29239
   KATHY SHAOZHEN
   KENT H. LANDSBERG                                        PO BOX 101144                                                                                          PASADENA        CA          91189

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                        NAME                                                   ADDRESS 1                            ADDRESS 2                         ADDRESS 3          CITY          STATE   ZIP       COUNTRY
   KIP KYUNG IN PRINTING,INC.                               7920 AIRWAY ROAD STE #A8                                                                              SAN DIEGO           CA        92154
   KIRKLAND & ELLIS LLP                                     655 FIFTEENTH ST. NW                                                                                  WASHINGTON          DC        20005
   KMJ TRANSPORTATION LLC                                   7155 INDUSTRIAL AVE                                                                                   EL PASO             TX        79915
   KNOBBE MARTENS OLSON BEAR LLP                            2040 MAIN STREET 14TH FLOOR                                                                           IRVINE              CA        92614
   KOLORCURE CORPORATION                                    1180 LYON RD                                                                                          BATAVIA             IL        60510
   KPMG LLP                                                 DEPT 0511                                                                                             DALLAS              TX        75312
   KREW TECH INC.                                           603 E. BALBOA BLVD.                                                                                   NEWPORT BEACH       CA        92661
   LA COUNTY TREASURER                                      500 W TEMPLE ST                                                                                       LOS ANGELES         CA        90012
   LABOR PERSONNEL, LLC                                     736 DUNDEE AVE.                                                                                       ELGIN               IL        60120
   LAFRANCE CORPORATION                                     PO BOX 820959                                                                                         PHILADELPHIA        PA        19182
   LAKE COUNTY COLLECTOR                                    PO BOX 1030                                                                                           BEDFORD PARK        IL        60499
   LANDSTAR GLOBAL LOGISTICS                                PO BOX 8500-53402                                                                                     PHILADELPHIA        PA        19178
   LANDSTAR RANGER, INC.                                    13410 SUTTON PARK DRIVE SOUTH                                                                         JACKSONVILLE        FL        32224
   LEBENSON ACTUARIAL SERVICES INC.                         8485 W SUNSET RD #200                                                                                 LAS VEGAS           NV        89113
   LES OLSON CO                                             PO BOX 65598                                                                                          SALT LAKE CITY      UT        84165
   LEVEL 42 EMBROIDERY LLC.                                 757 S. RIVER RIDGE LANE                                                                               SPANISH FORK        UT        84660
   LEXAM SECURITY PRODUCTS                                  230 HONG XIAN ROAD                                                                                    SHANGHAI                     201411    CHINA
   LIAISON TECHNOLOGIES, INC                                DEPT AT 952956                                                                                        ATLANTA             GA        31192
   LIBERTY FASTENER CO.                                     540 MEYER ROAD                                                                                        BENSENVILLE         IL        60106
   LIBRA SAFETY PRODUCTS                                    1951 ARTHUR AVE.                                                                                      ELK GROVE VILLAGE   IL        60007
   LIGHTHOUSE PRINTING, INC.                                PO BOX 159                                                                                            NEW LENOX           IL        60451
   LME, INC.                                                PO BOX 88271                                                                                          CHICAGO             IL        60680
   LOCAL ROOFING CO. INC.                                   1394 ST. PAUL AVENUE                                                                                  GURNEE              IL        60031
   LOFTWARE INC.                                            249 CORPORATE DRIVE                                                                                   PORTSMOUTH          NH          3801
   LOGISTIC TRADE COMPANY                                   2310 M.L. KING AVE                                                                                    CALEXICO            CA        92231
   LOGITRANS, INC.                                          9295 SIEMPRE VIVA RD                                                                                  SAN DIEGO           CA        92154
   LORIENT NORTH AMERICA                                    ATTN: DAVID GEVEDON                     2121 CAPSTON DRIVE                                            LEXINGTON           KY        40511
   LP LOCKS LLC                                             PO BOX 3206                                                                                           LAGUNA HILLS        CA        92653
   LV METRO CHAMBER OF COMMERCE                             575 SYMPHONY PARK AVE # 100                                                                           LAS VEGAS           NV        89106
   LV.NET                                                   2595 FREMONT ST.                                                                                      LAS VEGAS           NV        89104
   M&H PALLETS                                              4073 LAS VEGAS BLVD N                                                                                 LAS VEGAS           NV        89115
   MAARS TEK SOLUTIONS                                      8510 E. 29TH ST N., STE 304                                                                           WICHITA             KS        67226
   MAC'S PROPERTY MANAGEMENT SERVICES                       1520 OLD NORTH RAND ROAD                                                                              WAUCONDA            IL        60084
   MAINSTREAM MARKETING                                     5021 JUSTIN RD.                         STE B                                                         NACOGDOCHES         TX        75964
   MANUFACTURAS PUEBLO VIEJO INDUST. MATRIZ                 AJONJOLL 3869 COL.LA NOGAIERA           GUADALAJARA                                                   JALISCO                       44470    MEXICO
   MANUFACTURAS PUEBLO VIEJO INDUSTRIAL                     AJONJOLÍ, COL. LA NOGALERA                                                                            GUADALAJARA                   44470    MEXICO
   MANUFACTURERS EDGE                                       5044 INDUSTRIAL ROAD                                                                                  FARMINGDALE         NJ          7727
   MANUFACTURING SOLUTIONS                                  1332 EAST BORCHARD AVENUE                                                                             SANTA ANA           CA        92705
   MAQUINADOS INDUSTRIALES DE                               GUADALAJARA S.A DE C.V.                 RIO ATOTONILCO # 1384-32 COL. ATLAS                           JALISCO             JA        44870    MEXICO
   MASUDA, FUNAI, EIFERT & MITCHELL, LTD.                   200 N. MARTINGALE ROUND                                                                               SCHAUMBURG          IL        60073
   MB FINANCIAL BANK                                        PO BOX 84056                                                                                          COLUMBUS            GA        31098
   MB GLOBAL PRODUCTS LLC                                   PO BOX 44048                                                                                          ATLANTA             GA        30336
   MC SQUARED ENERGY                                        PO BOX 900215                                                                                         LOUISVILLE          KY        40290
   MCCALLUM GROUP, INC                                      6390 HADDINGTON LN                                                                                    SWANEE              GA        30024
   MCHENRY COUNTY COLLECTOR                                 PO BOX 458                                                                                            CRYSTAL LAKE        IL        60039
   MCMASTER-CARR                                            PO BOX 7690                                                                                           CHICAGO             IL        60680
   METRO DOOR AND DOCK INC.                                 34691 N. WILSON ROAD                                                                                  INGLESIDE           IL        60041
   MGM MAQUILADORA GRAFICA DE MX, SA DE CV                  824 N MARKET ST. STE 100                                                                              WILMINGTON          DE        19801
   MID OCEAN PARTNERS                                       320 PARK AVENUE STE 1600                                                                              NEW YORK            NY        10022
   MIDCO INC.                                               221 SHORE COURT                                                                                       BURR RIDGE          IL        60527
   MID-STATES DISTRIBUTING, LLC                             ATTN: ACCTS RECV/SHOW PYMNTS            PO BOX 961001                                                 FORT WORTH          TX        76163
   MIKE'S MACHINERY MAINTENANCE, INC.                       PO BOX 1086                                                                                           VISTA               CA        92085
   MILITARY SALES & SERVICE CO.                             5301 S. WESTMORELAND RD.                                                                              DALLAS              TX        75237
   MILLER METALS SERVICE                                    2400 BOND STREET                                                                                      UNIVERSITY PARK     IL        60484
   MINUTE FASTENERS INC.                                    3873 SCHAEFER AVE. STE K                                                                              CHINO               CA        91710
   MOTHERG                                                  248 SPRING LAKE DR.                                                                                   ITASCA              IL        60143
   MOTION INDUSTRIES                                        BOX 504606                                                                                            SAINT LOUIS         MO        63150
   MS 1 TEAM, INC.                                          7028 CONVOY CT.                                                                                       SAN DIEGO           CA        92111
   MUNOZ TRUCKING INC                                       12460 WEABER                                                                                          EL PASO             TX        79928
   NANJING DOUTAI SMART TECHNOLOGY CO., LTD                 FEIYING ROAD 28                                                                                       FUJ NANJING                            CHINA
   NATIONAL RIFLE ASSOCIATION                               SHOWS & EVENTS DEPARTMENT                                                                             FAIRFAX             VA        22030
   NATIONAL SHOOTING SPORTS FOUNDATION, INC                 PO BOX 4110                                                                                           WOBURN              MA         1888
   NATIONAL TECHNICAL SYSTEMS                               PO BOX 733364                                                                                         DALLAS              TX        75373

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                       NAME                                                    ADDRESS 1                                ADDRESS 2                           ADDRESS 3                 CITY       STATE      ZIP    COUNTRY
   NATION'S BEST SPORTS                                     4350 FOSSIL CREEK BLVD.                                                                                           FORT WORTH         TX          76137
   NEAL FREEMAN INVESTMENTS                                 PO BOX 505062                                                                                                     ST LOUIS           MO          63150
   NEUSLAND INTL TRADE LTD.                                 NO 1, MINGFU ROAD, SHAJING TOWN             BAO'AN DISTRICT                                                       SHENZHEN                      518000 CHINA
   NEVADA DEPARTMENT OF TAXATION                            BANKRUPTCY SECTION                          555 E. WASHINGTON AVE.                   #1300                        LAS VEGAS          NV          89101
   NEVADA PALLETS LLC                                       6631 SURREY STREET                                                                                                LAS VEGAS          NV          89119
   NEVER LATE PRINTING, LLC                                 3920 EAST PATRICK LANE                                                                                            LAS VEGAS          NV          89120
   NEXUSTEK IRVINE LLC                                      400 EXCHANGE STE 100                                                                                              IRVINE             CA          92602
   NICOR GAS                                                PO BOX 5407                                                                                                       CAROL STREAM       IL          60197
   NICOR GAS                                                1844 W. FERRY ROAD                                                                                                NAPERVILLE         IL          60563
   NINGBO AIFEIBAO SAFE MANUFACTURE CO.,LTD                 NO.1, DONGHU ROAD                                                                                                 NINGBO                               CHINA
   NINGBO DAZHONG HENGLI RIGGING CO, LTD.                   1117 SOUTH TAIHE ROAD                                                                ZHE                          NINGBO                               CHINA
   NINGBO GLOBAL SOURCING CO                                NO 10 CHUANG YE ROAD 3                                                               NINGBO                       BEILUN                        315800 CHINA
   NINGBO HOMER ELECTRONICS LIGHTING CO.                    NO. 38, JINGGANGSHAN ROAD                   BEILUN AREA                              NINGBO                       BEILUN                        315800 CHINA
   NINGBO HUALEI TOOL CO.                                   EAST SECTION, GUAN HAI WEI                  INDUSTRIAL ZONE                          CIX                          ZHEJIANG
   NINGBO JUNMAO ENVIRONMENTAL                              CIDONG BINHAI INDUSTRIAL ZONE               LONGSHAN TOWN                                                         CIXI CITY NINGBO                     CHINA
   NINGBO RAYMACE INDUSTRIAL                                NO.57 ZHONGNICHANG RD                       XINMIAN INDUSTRIAL ZONE                                               NINGBO                        315000 CHINA
   NINGBO RELIANCER DNU                                     315020 CHN NINGBO                           ROOM 836                                                              RAFFLES                              CHINA
   NINGBO RELIANCER IMP& EXP CO, LTD                        (6-1)-8, BUILDING 055                       NO. 1 BAILONG LANE, YINZHOU                                           NINGBO
                                                                                                                                                 11 FENGHUIYUAN, XICHENG
   NINGBO RELIANCER IMP& EXP CO, LTD                        CHINA EXPORT & CREDIT INS CORP.             ATTN: FORTUNE TIMES BUILDING             DISTRICT                     BEIJING                       100033 CHINA
   NINGBO RELIANCER IMP&EXP CO, LTD.                        MANAGING MEMBER                             (6-1)-8 BUILDING 055                     NO 1 BAILONG LANE, YINZHOU   NINGBO

   NINGBO SHENGWEI CABINET                                  NO. 69, LINCHUN RD                          BINHAI INVESTMENT AND BUSINESS ZONE                                   NINGBO                               CHINA
   NINGBO TIGER KING SAFE CO., LTD                          NO.96-98 HUAN DAO WEST RD                   ZHE                                                                   NINGBO CITY                   315809 CHINA
   NINGBO XIN DAJIE ELECTRIC CO. LTD.                       NINGBO BEILUM XIAPU NO. 151-2               PIEDMONT BOY HOME                                                                                          CHINA
   NINGBO XIUNAN INTERNATIONL TRADING CO                    38/F OFFICE TOWER                           CONVENTION PLAZA 1 HARBOR ROAD                                        WANCHAI                              HONG KONG
                                                                                                                                                 SOUTH AREA OF YUYAOCON
   NINGBO YADA SAFE EQUIPMENT                               ATTN: JOHN BAO                              NO. 10 HONGYUN ROAD                      DEVELOP ZONE                 NINGBO                               CHINA
   NINGBO YONGFA INTELLIGENT SECURITY                       321 WEST BATOU ROAD                                                                  BEILUN                       NINGBO                        315800 CHINA
   NINGBO YONGFA INTELLIGENT SECURITY TECH                  321 WEST BATOU BEILUN                                                                                             BINGBO                               CHINA
   NINGBO YONGFA INTELLIGENT SECURITY TECH                  MANAGING MEMBER                             321 WEST BATOU                           BELIUN                       BINGBO                               CHINA
   NINGBO YONGFA INTELLIGENT SECURITY TECH                  C/O PICC PROPERTY & CASUALTY CO LIMITED     #50 DALAI STREET, 310010                 HAISHU DISTRICT              NINGBO ZHEIJANG                      CHINA
   NL LOCK TECHNOLOGY (NETHERLANDS)                         MAASSTRAAT 3, UNIT D                        7071 VR ULFT                                                          NETHERLANDS
   NL LOCK TECHNOLOGY (NETHERLANDS)                         ATTN: SUSAN PAPA                            MAASSTRAAT 3                             UNIT D                                                  7071 VR ULFT
                                                                                                                                                                                                                    NETHERLANDS
   NORTH AMERICAN PRODUCTION SHARING                        517 SOUTH CEDROS AVENUE                                                                                           SOLANA BEACH       CA           82075
   NORTHWEST COMMUNITY HOSPITAL                             26779 NETWORK PLACE                                                                                               CHICAGO            IL           60673
   NORTHWEST PALLET SERVICES, LLC                           PO BOX 8438                                                                                                       CAROL STREAM       IL           60197
   NOVEL WEBSITE DESIGN                                     3737 WEST 85TH                                                                                                    WESTMINSTER        CO           80031
   NSN EMPLOYER SERVICES INC                                PO BOX 617665                                                                                                     CHICAGO            IL           60661
   NV DEPT. OF TAXATION, BANKRUPTCY SECTION                 555 E. WASHINGTON AVE                       #1300                                                                 LAS VEGAS          NV           89101
   NV ENERGY                                                PO BOX 30086                                                                                                      RENO               NV           89520
   NV ENERGY                                                ATTN: SUZIE GARCIA                          6226 W SAHRA AVE                                                      LAS VEGAS          NV           89146
   OEC                                                      MANAGING MEMBER                             13100 ALONDRA BLVD., STE. 100                                         CERRITOS           CA           90703
   OFFICE DEPOT                                             PO BOX 70025                                                                                                      LOS ANGELES        CA           90074
   OFFICE DEPOT                                             PO BOX 29248                                                                                                      PHOENIX            AZ           85038
   OFFICE OF THE US TRUSTEE                                 FOR THE DISTRICT OF NV                      300 LAS VEGAS BLVD.                      SOUTH #4300                  LAS VEGAS          NV           89101
   OFFICE TEAM                                              PO BOX 743295                                                                                                     LOS ANGELES        CA           90074
   OLD DOMINION FREIGHT LINE, INC.                          PO BOX 742296                                                                                                     LOS ANGELES        CA           90074
   OMNI STEEL CO., INC.                                     4419 COLDWATER CANYON AVE.                                                                                        STUDIO CITY        CA           91604
   ORANGE COUNTY INDUSTRIAL                                 608 E. 4TH STREET                                                                                                 SANTA ANA          CA           92701
   OSER COMMUNICATIONS GROUP LLC                            1877 N KOLB RD.                                                                                                   TUCSON             AZ           85715
   PAC TRUX                                                 20162 SW BIRCH ST# 375                                                                                            NEWPORT BEACH      CA           92660
   PACIFIC TOLL PRCESSING                                   24724 SOUTH WILMINGTON AVE                                                                                        CARSON             CA           90745
   PACIFIC TOLL PROCESSING                                  C/O PUAL EVAN GREENWALD                     12951 MIRIAM PLACE                                                    SANTA ANA          CA           92705
   PACIFIC TOLL PROCESSING                                  MANAGING MEMBER                             24724 SOUTH WILMINGTON AVE.                                           CARSON             CA           90745
   PACIFIC TOLL PROCESSING INC.                             24724 SOUTH WILMINGTON AVE.                                                                                       CARSON             CA           90745
   PACKSIZE LLC                                             29575 NETWORK PLACE                                                                                               CHICAGO            IL           60673
   PANALPINA, INC, -SAN                                     1425 CORPORATE CENTER DRIVE                                                                                       SAN DIEGO          CA           92154
   PATWIN PLASTICS, INC.                                    2300 E. LINDEN AVE.                                                                                               LINDEN             NJ           17036
   PAYCOM PAYROLL LLC                                       7501 W MEMORIAL RD                                                                                                OKLAHOMA CITY      OK           73142
   PEOPLELINK STAFFING                                      DEPT. CH 16410                                                                                                    PALATINE           IL           60055
   PERFECTION MACHINE & TOOL WORK                           1568 EAST 22ND STREET                                                                                             LOS ANGELES        CA           90011
   PERFORMANCE STEEL,INC,                                   817 SOUTH 7TH STREET                                                                                              LAS VEGAS          NV           89101

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                        NAME                                                  ADDRESS 1                              ADDRESS 2                           ADDRESS 3                 CITY         STATE      ZIP      COUNTRY
   PETTY CASH                                               C/O LINDA SHOBERT
   PHASE 1 PROTOTYPES,LLC                                   PO BOX 140698                                                                                                    IRVING             TX          75014
   PITNEY BOWES # 0010716853                                PO BOX 371887                                                                                                    PITTSBURGH         PA          15250
   PLAZA FABRICS INC.                                       645 SOUTH GIANO                                                                                                  LA PUENTE          CA          91744
   POINTS NORTH SEARCH GROUP                                PO BOX 868                                                                                                       CROSSLAKE          MT          56442
   POWER POST INC.                                          6244 CLAYTON AVE                                                                                                 ST LOUIS           MO          63139
   PREFERRED CORPORATE HOUSING                              9119 KATY FREEWAY                                                                                                HOUSTON            TX          77024
   PRIME S.R.L.                                             VIA MARIO SBICEGO, 436073                                                                                        CORNEDO                               ITALY
   PRO QC INTERNATIONAL                                     774 RIDGEVIEW DR.                                                                                                MC HENRY           IL           60050
   PROFESSIONAL ANALYSIS                                    1804 CENTRE POINT CIRCLE                 #1804                                                                   NAPERVILLE         IL           60563
   PROFESSIONAL SAFE CRACKING                               PO BOX 1506                                                                                                      TEMECULA           CA           92593
   PROFESSIONAL TECHNICAL COMMUNICATION                     3023 INDIGO CIR S                                                                                                FORT COLLINS       CO           80628
   PROGRAPHICS                                              4404 BOEING DRIVE                                                                                                ROCKFORD           IL           61109
   PROTECH CHEMICALS LTD                                    PO BOX 33212                                                                                                     DETROIT            MI           48232
   PURCHASE POWER 8000-9090-0935-6754                       PO BOX 371874                                                                                                    PITTSBURG          PA           15250
   QAI LABORATORIES LTD                                     3980 N. FRASER WAY                                                                                               BURNABY            BC      V5J 5K5    CANADA
   QUAD EXPRESS LTL, TL FREIGHT CARRIERS                    PO BOX 644840                                                                                                    PITTSBURG          PA           15264
   QUAD LOGISTICS HOLDINGS, LLC                             PO BOX 644840                                                                                                    PITTSBURGH         PA           15264
   QUALITY TRIM                                             3645 CLARK AVE.                                                                                                  ST LOUIS           MO           63110
   QUENCH USA, INC.                                         P O BOX 781393                                                                                                   PHILADELPHIA       PA           19178
   QUICK PATENTS                                            2580 ANTHEM VILLAGE DR                                                                                           HENDERSON          NV           89052
   QUILL - ACCT #C4885024                                   PO BOX 37600                                                                                                     PHILADELPHIA       PA           19101
   QUINCY COMPRESSOR                                        DEPT. 3427,LOCKBOX 893427                PO BOX 123427                                                           DALLAS             TX           75312
   R&L CARRIERS, INC                                        PO BOX 10020                                                                                                     PORT WILLIAM       OH           45164
   R&L TRUCKLOAD DNU                                        BOFA LOCK BOX 74008195                                                                                           CHICAGO            IL           60674
   R&R INDUSTRIAL SERVICES, INC.                            238 EAST BLUE JAY WAY                                                                                            ONTARIO            CA           91761
   R+L CARRIERS                                             PO BOX 271                                                                                                       WILMINGTON         OH           45177
   R+L GLOBAL LOGISTICS                                     6000 FELDWOOD RD DEPT. 801                                                                                       COLLEGE PARK       GA           30349
   R+L TRUCKLOAD SERVICES                                   MANAGING MEMBER                          16520 S. TAMIAMI TR.                     STE. 180                       FORT MYERS         FL           33908
   R+L TRUCKLOAD SERVICES LLC                               1650 S. TAMIAMI TR                       STE 180                                                                 FORT MYERS         FL           33908
                                                                                                     DBA R+L GLOBAL R+L TRUCKLOAD
   R+L TRUCKLOAD SERVICES LLC                               C/O AFC WORLDWIDE EXPRESS INC            SERVICES                                 16520 S. TAMIAMI TR, STE 180   FORT MYERS         FL           33908
   R+L TRUCKLOAD SERVICES WHITE GLOVE                       MANAGING MEMBER                          16520 S. TAMIAMI TR.                     STE. 180                       FORT MYERS         FL           33908
   RACO STEEL COMPANY                                       2100 WEST 163RD PLACE                                                                                            MARKHAM            IL           60428
   RADIAL, INC                                              PO BOX 204113                                                                                                    DALLAS             TX           75320
   RANDSTAD US, LLC                                         PO BOX 742689                                                                                                    ATLANTA            GA           30374
   RB INVESTMENT HOLDINGS, LLC                              PO BOX 1728                                                                                                      FORT COLLINS       CO           80522
   RELIABLE CONTAINER CORP.                                 9206 SANTA FE SPRINGS ROAD                                                                                       SANTA FE SPRINGS   CA           90670
   RELX INC DBA REED EXHIBITIONS                            PO BOX 9599                                                                                                      NEW YORK           NY           10087
   REPUBLIC SERVICES                                        PO BOX 78829                                                                                                     PHOENIX            AZ           85062
   REPUBLIC SERVICES                                        18500 N ALLIED WAY                                                                                               PHOENIX            AZ      85054-6164
   RETRANS                                                  PO BOX 3724                                                                                                      CAROL STREAM       IL           60132
   REVCO LEASING COMPANY LLC                                3244 S 300 W                                                                                                     SALT LAKE CITY     UT           84165
   REVERE PLASTICS SYSTEMS                                  401 E. ELM ST.                                                                                                   CLYDE              OH           43410
   RICOH USA, INC.                                          PO BOX 802815                                                                                                    CHICAGO            IL           60680
   RILEY SAFER HOLMES & CANCILA LLP                         70 W. MADISON STREET                     #2900                                                                   CHICAGO            IL           60682
   RL JONES CUSTOMS BROKERS OF TEXAS LLC                    9630 PLAZA CIRCLE                                                                                                EL PASO            TX           79927
   RL JONES SAN DIEGO INC                                   8830 SIEMPRE VIVA RD STE 100                                                                                     SAN DIEGO          CA           92154
   ROBERT HALF FINANCE                                      PO BOX 743295                                                                                                    LOS ANGELES        CA           90074
   ROBERT L. CAULK                                          265 INDIES WAY #1401                                                                                             NAPLES             FL           34110
   ROMEO ENGINEERING INC                                    4217 HAHN ROAD                                                                                                   FORT WORTH         TX           76117
   ROYAL PLYWOOD                                            14171 E. PARK PLACE                                                                                              CERRITOS           CA           90703
   RR DONNELLEY LOGISTICS SERVICES                          35 W WACKER DRIVE                                                                                                CHICAGO            IL           60601
   RSM US LLP                                               5155 PAYSPHERE CIRCLE                                                                                            CHICAGO            IL           60674
   S & D PRODUCTS INC.                                      1390 SCHIFERL ROAD                                                                                               BARTLETT           IL           60103
   SAFE RESTORATION                                         25751 185TH AVE.                                                                                                 FORT RIPLEY        MN           56449
   SALES GROUP INC                                          1492 TURN BERRY CR                                                                                               OCONOMOWOC         WI           53066
   SANTA BARBARA EXPRESS                                    1138 B KASTRIN ST.                                                                                               EL PASO            TX           79907
   SCHU INDUSTRIES                                          453 5TH STREET                                                                                                   RANDOM LAKE        WI           53075
   SEALED AIR CORPORATION                                   26077 NETWORK PLACE                                                                                              CHICAGO            IL           60673
   SEALEY POWER PRODUCTS                                    KEMPSON WAY                              SUFFOLK BUSINESS PARK                    BURY ST EDMUNDS                SUFFOLK                    IP32 7AR UNITED KINGDOM
   SECURITIES AND EXCHANGE COMMISSION                       ATTN: LOS ANGELES REGIONAL OFFICE        444 SOUTH FLOWER STREET                  STE 900                        LOS ANGELES        CA           90071
   SHEFFIELD CUTTING EQUIPMENT INC.                         460-A CYPRESS LANE                                                                                               EL CAJON           CA           92020

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                         NAME                                                 ADDRESS 1                               ADDRESS 2                           ADDRESS 3          CITY         STATE   ZIP    COUNTRY
   SHIELD FIRE & SECURITY, LLC                              3395 W CHEYENNE                                                                                           NORTH LAS VEGAS     NV       89032
   SHINSHO AMERICA CORPORATION                              26200 TOWN CENTER DRIVE                                                                                   NOVI                MI       48375
   SHINSHO AMERICAN CORPORATION                             26200 TOWN CENTER DRIVE                                                                                   NOVI                MI       48375
   SHINSHO AMERICAN CORPORATION                             C/O BULLARD, BROWN & BEAL, LLP             7915 WEST SAHARA AVE.                   STE. 104               LAS VEGAS           NV       89117
   SIERRA INDUSTRIAL EQUIPMENT LLC                          4140 CANNOLI CIRCLE STE B                                                                                 LAS VEGAS           NV       89103
   SIGMA SUPPLY OF NORTH AMERICA                            2821 N. MARION DR. #101                                                                                   LAS VEGAS           NV       89115
   SIGMANET                                                 PO BOX 515259                                                                                             LOS ANGELES         CA
   SMURFIT KAPPA                                            BEECH HILL                                 CLONSKEAGH DUBLIN 4                                                                                 IRELAND
   SOCIAL SECURITY ADMINISTRATION                           OFFICE OF REGIONAL CHIEF COUNSEL REG.      160 SPEAR STREET                        STE. 800               SAN FRANCISCO       CA       94105
   SOLMAQ DE MEXICO SA DE CV                                CTO. ING. TOMAS LIMON GUTIERREZ 140                                                                       TIJUANA                              MEXICO
   SOLVENT SYSTEMS INTL INC                                 70 KING STREET                                                                                            ELK GROVE VILLAGE   IL       60007
   SONOCO PRODUCTS CO.                                      91218 COLLECTIONS CENTER DR.                                                                              CHICAGO             IL       60693
   SONOCO PROTECTIVE                                        PO BOX 91218                                                                                              CHICAGO             IL       60693
   SOUTHWEST GAS CORPORATION                                ATTN: JUSTIN LEE BROWN                     6355 SHATZ STREET                                              LAS VEGAS           NV       89115
   SPRINT                                                   MANAGING MEMBER                            PO BOX 4181                                                    CAROL STREAM        IL       60693
   SPRINT                                                   C/O MCCARTHY, BURGESS & WOLF               ATTN: THE MB&W BUILDING                 26000 CANNON RD.       CLEVELAND           OH       44146
   SPS COMMERCE, INC.                                       PO BOX 205782                                                                                             DALLAS              TX       75320
   STAMAR PACKAGING, INC.                                   PO BOX 1157                                                                                               BEDFORD PARK        IL       60499
   STAR 1 PERSONNEL                                         7318 W. POST RD. #209                                                                                     LAS VEGAS           NV       89113
   STAUB METAL CORP.                                        7747 EAST ROSECRANS AVE.                                                                                  PARAMOUNT           CA       90723
   STEELERS EXPRESS INC.                                    APEX CAPITAL CORP.                                                                                        FT.WORTH            TX       76163
   STERICYCLE INC                                           PO BOX 6575                                                                                               CAROL STREAM        IL       60197
   STERLING FABRICATING EQUIPMENT, INC.                     9310 GARVEY AVE                                                                                           SOUTH EL MONTE,     CA       91733
   STORAGEONE                                               1294 PASEO VERDE PKWY                                                                                     HENDERSON           NV       89012
   STORO PACK                                               DEPT. C LOCATION 00207                                                                                    CINCINNATI          OH       45264
   SUN CHEMICAL (USE V411)                                  PO BOX 2193                                                                                               CAROL STREAM        IL       60132
   SUN CHEMICAL CORPORATION                                 PO BOX 2193                                                                                               CAROL STREAM        IL       60132
   SUN LIFE FINANCIAL                                       PO BOX 807009                                                                                             KANSAS CITY         MO
   SWANSON RUSSELL                                          1222 P STREET                                                                                             LINCOLN             NE       68508
   SYDNEY MCCARTHY                                          6133 SPERAMINT CT.                                                                                        FORT COLLINS        CO       80528
   SYSTEMS RESEARCH INC                                     1250 BANK DRIVE                                                                                           SCHAUMBURG          IL       60173
   T.J. SNOW COMPANY INC.                                   120 NOWLIN LANE                            PO BOX 22847                                                   CHATTANOOGA         TN       37422
   TAFCO CORPORATION                                        1953 N. 17TH AVENUE                                                                                       MELROSE PARK        IL       60160
   TAIZHOU WEISHIBAO MECHANICAL                              COMPANY (WASBLE MACH)
   TEAM MARKETING, INC.                                     3010 77TH AVENUE SE                        #104                                                           MERCER ISLAND       WA       98040
   TEMPTEK, INC.                                            525 E. STOP 18 ROAD                                                                                       GREENWOOD           IN       46143
   THE CUSTOM COMPANIES, INC                                PO BOX 3270                                                                                               NORTHLAKE           IL       60164
   TIMBERLINE MARKETING                                     9437 GARFIELD AVE SOUTH                    #100                                                           BLOOMINGTON         MN       55420
   T-MOBILE                                                 PO BOX 51843                                                                                              LOS ANGELES         CA       90051
   TOLL GLOBAL FORWARDING                                   MAIL CODE 36                               PO BOX 11839                                                   NEWARK              NJ       17101
   TOP VALUE FABRICS (NEED W9)                              21023 S. MAIN STREET                                                                                      CARSON              CA       90745
   TOYOTA INDUSTRIES COMMERCIAL FINANCE INC                 PO BOX 660926                                                                                             DALLAS              TX       75266
   TRACTOR SUPPLY COMPANY                                   700 CHURCH ST.                             STE 100                                                        NASHVILLE           TN       37203
   TRAILER LOGISTICS COMPANY                                MANAGING MEMBER                            PO BOX 128                                                     LIBERTYVILLE        IL       60048
   TRAILER LOGISTICS COMPANY                                C/O WICZER SHELDON & JACOBS LLC            500 SKOKIE BLVD.                        STE. 325               NORTHBROOK          IL       60062
   TRAILER LOGISTICS COMPANY, INC.                          PO BOX 128                                                                                                LIBERTYVILLE        IL       60048
   TRAVELERS INSURANCE                                      98932 COLLECTIONS CENTER DR.                                                                              CHICAGO             IL       60693
   TRIAD DIGITAL MEDIA                                      MANAGING MEMBER                            PO BOX 419727                                                  BOSTON              MA        2241
   TRIAD DIGITAL MEDIA                                      C/OTHE PANOURGIAS LAW FIRM, PLLC           30100 TELEGRAPH RD.                     STE. 360               BINGHAM FARMS       MI       48025
   TRIM-LOK, INC.                                           PO BOX 6180 6855 HERMOSA CIRCLE                                                                           BUENA PARK          CA       90622
   TRI-PAR DIE AND MOLD                                     670 SUNDOWN ROAD                                                                                          SOUTH ELGIN         IL       60177
   TWEYEN INC.                                              320 W. NORTHWEST HWY.                                                                                     ARLINGTON HEIGHT    IL       60004
   TYASA T A 2000, S.A. DE C.V.                             CARR FEDERAL MEXICO-VERACRUZ               KM 321 S/N                                                     IXTACZOQUITLAN      VE       94450 MEXICO
   U.P.S.                                                   LOCKBOX 577                                                                                               CAROL STREAM        IL       60132
   U.S. CUSTOMS AND BORDER PROTECTION                       PO BOX 530071                                                                                             ATLANTA             GA       30353
   UL GMBH - ACCT #1423308                                  75 REMITTANCE DR STE 1893                                                                                 CHICAGO             IL       60675
   ULINE                                                    PO BOX 88741                                                                                              CHICAGO             IL       60680
   UNITED EXPRESS SYSTEM INC                                PO BOX 1628                                                                                               AURORA              IL       60507
   UNITED PARCEL SERVICE                                    PO BOX 894820                                                                                             LOS ANGELES         CA       90189
   UNITED STATES ATTORNEYS OFFICE                           ATTN: CIVIL PROCESS CLERK                  333 LAS VEGS BLVD SOUTH                 STE 5000               LAS VEGAS           NV       89101
   UNITED STATES ATTORNEY'S OFFICE                          ATTN: CIVIL PROCESS CLERK                  501 LAS VEGAS BLVD SOUTH                STE 1100               LAS VEGAS           NV       89101
   UNITED STATES TEST LAB(USE V312)
   UNITED STATES TRUSTEE                                    300 LAS VEGAS BLVD                         SOUTH #4300                                                    LAS VEGAS           NV       89101

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                        NAME                                                  ADDRESS 1                             ADDRESS 2                            ADDRESS 3          CITY         STATE   ZIP     COUNTRY
   UNIVERSAL FREIGHT SYSTEMS                                1260 N. ELLIS STREET                                                                                     BENSENVILLE        IL        60106
   UNIVERSAL FREIGHT SYSTEMS                                MANAGING MEMBER                          1260 N. ELLIS STREET                                            BENSENVILLE        IL        60106
   UNIVERSAL FREIGHT SYSTEMS                                C/O WANG, LEONARD & CONDON               33 N. LASALLE ST.                       STE. 2020               CHICAGO            IL        60602
   UNLIMITED ELECTRO AUTOMATION & CONTROLS                  8755 MESA POINT TERRANCE                                                                                 SAN DIEGO          CA        92154
   UPS FREIGHT                                              28013 NETWORK PLACE                                                                                      CHICAGO            IL        60673
   UPS SUPPLY CHAIN SOLUTION                                28013 NETWORK PLACE                                                                                      CHICAGO            IL        60673
   USI INSURANCE SERVICES                                   PO BOX 62817                                                                                             VIRGINIA BEACH     VA        23466
   VALLEY FASTENER                                          PO BOX 2790                                                                                              AURORA             IL        60507
   VANGUARD ENERGY SERVICES, LLC                            29120 NETWORK PLACE                                                                                      CHICAGO            IL        60673
   VECTOR DE BAJA CALIFORNIA, S.A. DE C.V.                  AV. PIO PICO, ZONA CENTRO1660                                                                            TIJUANA            BC        22000 MEXICO
   VEGAS VALLEY FIRE PROTECTION                             5740 SOUTH ARVILLE STREET                                                                                LAS VEGAS          NV        89118
   VELASCO LOCK AND SAFE, LLC                               10408 MEADOW RD.                                                                                         NORWALK            CA        90650
   VERIFY                                                   C/O CCC OF NEW YORK                      34 SEYMOUR ST.                                                  TONAWANDA          NY        14150
   VERIFY                                                   MANAGING MEMBER                          6120 SOUTH GILMORE RD.                                          FAIRFELD           OH        45014
   VERISHIP LLC                                             7472 COLLECTION CENTER DRIVE                                                                             CHICAGO            IL        60693
   VERITIV                                                  7472 COLLECTION CENTER DRIVE                                                                             CHICAGO            IL        60693
   VERIZON WIRELESS                                         PO BOX 660108                                                                                            DALLAS             TX        75266
   VILLAGE OF WAUCONDA                                      PO BOX 5688                                                                                              CAROL STREAM       IL        60197
   VILLAGE OF WAUCONDA (ACCT#010323-000)                    WAUCONDA VILLAGE HALL                    101 N MAIN STREET                                               WAUCONDA           IL        60084
   VISION SERVICE PLAN                                      PO BOX 742430                                                                                            LOS ANGELES        CA        90074
   VOGT RESNICK, SHERAK, LLP                                PO BOX 7849                                                                                              NEWPORT BEACH      CA        92658
   WAREHOUSE DIRECT                                         2001 S. MOUNT PROSPECT RD.                                                                               DES PLAINES        IL        60018
   WASTE MANAGEMENT                                         PO BOX 4648                                                                                              CAROL STREAM       IL        60197
   WASTE MANAGEMENT                                         WASTE MANAGEMENT CHIEF LEGAL OFFICER     1001 FANNIN                             STE 4000                HOUSTON            TX        77002
   WATER DISTRICT -- LVVWD                                  1001 S VALLEY VIEW BLVD.                                                                                 LAS VEGAS          NV        89153
   WICKER, SMITH, O'HARA MCCOY & FORD                       2800 PONCE DE LEON BLVD # 800                                                                            CORAL GABLES       FL        33134
   WILLIAM E. LEW                                           PO BOX 8604                                                                                              RANCHO SANTA FE    CA        92067
   WINSSON ENTERPRISES CO., LTD                             NO. 202-2, SEC 3                         DATONG RD                               NEW TAIPEI CITY         TAIWAN                              CHINA
   WOLFE INDUSTRIES INC                                     14420 MARQUARDT AVE                                                                                      SANTA FE SPRINGS   CA        90670
   WOODARD, EMHARDT, MORIARTY, MCNETT                       & HENRY LLP                              111 MONUMENT CIR STE 3700                                       INDIANAPOLIS       IN        46204
   WORCESTER TOOL & STAMPING                                51 CHARLTON AVE.                                                                                         PAWTUCKET          RI          2860
   WRIKE                                                    100 W EVELYN AVENUE                      #220                                                            MOUNTAIN VIEW      CA        94041
   WURTH BAER SUPPLY CO.                                    909 FOREST EDGE DRIVE                                                                                    VERNON HILLS       CA        60061
   WURTH LOUIS AND COMPANY                                  6125 S. VALLEY VIEW BLVD STE B                                                                           LAS VEGAS          NV        89118
   XPO LOGISTICS LESS-THAN-TRUCKLOAD                        29559 NETWORK PL                                                                                         CHICAGO            IL        89118
   XTRA LEASE                                               PO BOX 219562                                                                                            KANSAS CITY        MO        64121
   YPO LAS VEGAS                                            8945 W. POST ROAD,                                                                                       LAS VEGAS          NV        89148
   YRC                                                      POST OFFICE BOX 100129                                                                                   PASADENA           CA        91189
   ZENDESK, INC                                             DEPT CH 19895                                                                                            PALATINE           IL        60055
   ZHONGYIN (NINGBO) BATTERY CO., LTD.                      NO. 128 XINGUANG ROAD                    HI-TECH ZONE                            NINGBO CITY             ZHEJIANG                    315000 CHINA
   ZUMASYS ( NEED W9 )                                      9245 RESEARCH DRIVE                                                                                      IRVINE             CA        92618




In re: Alpha Guardian (f/k/a Stack-On Acquisition Corp.), et al.
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